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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                          ENTERED
                  IN THE UNITED STATES DISTRICT COURT                    August 14, 2020
                  FOR THE SOUTHERN DISTRICT OF TEXAS                  David J. Bradley, Clerk
                            HOUSTON DIVISION

PAUL E. CALLINAN, and                     §
JORGE RIVERA, Individually                §
and on Behalf of All Others               §
Similarly Situated,                       §
                                          §
      Lead Plaintiffs,                    §
                                          §
v.                                    §       CIVIL ACTION NO. H-19-0301
                                          §
LEXICON PHARMACEUTICALS, INC.,            §
LONNEL COATS, JEFFREY L. WADE,            §
and PABLO LAPUERTA,                       §
                                          §
       Defendants.                        §


                       MEMORANDUM OPINION AND ORDER

       This action is brought against Lexicon Pharmaceuticals, Inc.,

("Lexicon"), Lexicon's President, Chief Executive Officer ("CEO"),

and a Director of Lexicon, Lonnel Coats ("Coats"), Lexicon's Chief

Financial Officer ("CFO") and Vice President - Corporate and

Administrative Affairs,         Jeffrey L. Wade ("Wade"), and Lexicon's

Executive Vice President and Chief Medical Officer Pablo Lapuerta

("Lapuerta"), for alleged violations of§§             l0(b) and 20(a) of the

Securities     Exchange   Act    of   1934    ("Exchange   Act"),   15    U.S.C.

§§   78j (b) and 78t(a), and Rule l0b-5 promulgated thereunder, 17

C.F.R. §    240.l0b-5, during a proposed class period beginning on

 March 11, 2016, and ending on July 29, 2019, both dates inclusive. 1



       First Amended Class Action Complaint ("FACAC"), Docket Entry
       1

 No. 27, pp. 2 and 14-15 �� 1 and 42-46. Page numbers for docket
 entries in the record refer to the pagination inserted at the top
 of the page by the court's electronic filing system.
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Pending     before    the    court    are       Defendants'   Motion   to   Dismiss

Plaintiffs'     First       Amended   Complaint       ("Defendant's    Motion    to

Dismiss") (Docket Entry No. 33), and Plaintiffs' Memorandum of Law

in Opposition to Defendants' Motion to Dismiss Plaintiffs' First

Amended Complaint ("Plaintiffs' Opposition") (Docket Entry No. 35),

in which plaintiffs request leave to amend "[i]f the Court grants

any part of the [Defendants' Motion to Dismiss]."2 Also before the

court is Defendants' Reply Brief in Support of Their Motion to

Dismiss Plaintiffs' First Amended Complaint ("Defendants' Reply")

(Docket     Entry    No.    37).      For   the     reasons   stated   below,   the

Defendants' Motion to Dismiss will be granted,                    and plaintiff's

request for leave to amend will be denied.



                I. Procedural History and A1leqed Facts

     Daniel Manopla initiated this action on January 28, 2019, by

filing a Class Action Complaint (Docket Entry No. 1) asserting

claims for violations of §l0(b) and §20(a) of the Exchange Act and

Rule l0b-5 promulgated thereunder.                  On April 1,    2019,    Paul E.

Callinan ("Callinan") and Jorge Rivera ("Rivers") filed their

Motion for Appointment as Lead Plaintiffs and Approval of Counsel

(Docket Entry No. 10).         On May 31, 2019, the court signed an Order

Approving Lead Plaintiffs and               Approving     Selection    of Counsel

(Docket Entry No. 23) appointing Callinan and Rivera as Lead


     2
         Plaintiff's Opposition, Docket Entry No. 35, p. 31.
                                            2
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Plaintiffs, and approving their selection of Pomerantz LLP as Lead

Counsel for the class and the Briscoe Law Firm, PLLC as Liaison

Counsel for the class. On July 30, 2019, Lead Plaintiffs filed the

FACAC (Docket Entry No. 27).

        The FACAC alleges that Lexicon is a biopharmaceutical company

focused "on the development and commercialization of 'breakthrough

treatments,' i.e., drugs, 'for the treatment of human diseases.'"3

The FACAC alleges that Lexicon is "a Delaware corporation with its

principal executive offices located [in]                      The Woodlands,

Texas . .        .,   [and that its] common stock trades in an efficient

market on the Nasdaq Global Select Market ("NASDAQ") under the

ticker symbol 'LXRX.'"4         The FACAC alleges that Coats has been the

President, CEO, and a Director of Lexicon since July 2014,5 Wade

has     been     Lexicon's    CFO   and   Vice   President     Corporate       and
Administrative Affairs since February 2015, and that Lapuerta has

been Lexicon's Executive Vice President and Chief Medical Officer

since February 2015. 6

        The FACAC alleges that
        [a]t the start of the Class Period, on March 11, 2016,
        Lexicon filed its annual report on Form 10-K for the year
        2015, which was signed by the Individual Defendants (the

        3
            FACAC, Docket Entry No. 27, p. 2 � 2.        See also id. at 15
� 49.
        4
            Id. at 14 � 43.


        6
            Id. at 15 � 46.
                                          3
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     "2015 10-K"). That report disclosed, among other things,
     that Lexicon was "presently devoting most of our
     resources to the development of our two most advanced
     drug candidates." These drugs were "XERMELO," an oral
     treatment   for   carcinoid   syndrome   diarrhea,   and
     sotagliflozin [trademarked "Zynquista"].

          At the start of the class period, XERMELO, was in
     phase 3 clinical trials, and the Company was preparing to
     submit the medication for FDA approval. Sotagliflozin,
     Lexicon's other "most advanced drug candidate," had begun
     Phase III clinical trials as a treatment for Tld [Type 1
     diabetes].7

     The FACAC alleges that in 2015 Lexicon

     entered into a collaboration and license agreement for
     sotagliflozin with Sanofi. Under the Sanofi Agreement,
     Lexicon granted Sanofi an exclusive, worldwide, royalty­
     bearing right and license to develop, manufacture and
     commercialize sotagliflozin.      Lexicon, however, was
     responsible for all clinical development activities
     related to Tld and retained an exclusive option to co­
     promote   and    collaborate   with    Sanofi,   in   the
     commercialization of sotagliflozin for the treatment of
     Tld in the United States. Sanofi was responsible for all
     clinical    development    and    commercialization    of
     sotagliflozin for the treatment of T2d [Type 2 diabetes]
     worldwide   and    was  solely    responsible   for   the
     commercialization of sotagliflozin for the treatment of
     Tld outside the United States. Sanofi could terminate
     the agreement if a regulatory body found the risks
     associated with sotagliflozin so severe that Lexicon and
     Sanofi had to stop developing the drug, or if the drug
     failed to achieve certain results at the endpoints of
     phase 3 clinical trials for Tld or T2d. Under the Sanofi
     Agreement, Lexicon received a $300 million upfront
     payment      . and was eligible to receive up to $4 30
     million upon the achievement of specified development and
     regulatory milestones and up to $990 million upon the
     achievement of specified sales milestones.8

     7
      Id. at 16 enen 50-51. See also id. at 2 en 3 (stating that
sotagliflozin is trademarked "Zynquista").
     8
      Id. en 52.  See also Collaboration and License Agreement
between Lexicon Pharmaceuticals, Inc. and Sanofi Dated as of
November 5, 2015, Exhibit 2 to Defendants' Motion to Dismiss,
                                                 (continued...)
                                     4
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     The FACAC alleges that in 2015 Lexicon had debt of $1.1

billion and revenues of $130 million, 9 which was almost entirely

attributable to the initial $300 million payment received pursuant
to the Sanofi Agreement. 10    The FACAC alleges that Lexicon reported

a loss of $4.7 million in 2015, and greater losses in each of three

following years, i.e., over $131 million loss in 2016, over $122

million loss in 2017, and over $120 million loss in 2018.11                 The

FACAC alleges that Lexicon's cash reserves fell by 70% during the

Class Period from approximately $521 million in reported for 2015

to $133 million as of March 31, 2019. 12         The FACAC alleges that

"[b]oth Defendants and investors knew that Lexicon would not be

able to become profitable - or perhaps even survive - unless the

FDA approved Lexicon's products," 13 and that "[d] efendants also knew
that obtaining FDA approval for sotagliflozin would transform the

Tld industry," because it "would be the first oral antidiabetic

drug approved in the U.S. for use by adults with [Tld],                      in

combination with insulin." 14



       ••• continued)
     8(

Docket Entry No. 34-2.
     9
         FACAC, Docket Entry No. 27, p. 17 � 53.
     10
          Id. � 55.


     12
          Id. at 17-18 � 56.
     13
          Id. at 18 � 57.
     14
          Id. at 19-20 � 61.
                                     5
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     The FACAC alleges that "Tld is an autoimmune disease that

renders Tld sufferers unable to produce insulin," 15 "[t]here is no

cure for Tld," and "sufferers treat their Tld by monitoring their

glucose levels throughout the day and injecting insulin multiple

times per day using insulin pens, syringes or an insulin pump." 16

     People who suffer from T2d [Type 2 diabetes]
     produce insulin, but have developed a condition where
     their bodies do not use that insulin properly. There is
     no cure for T2d. Although some sufferers can manage T2d
     via diet and exercise, T2d usually gets worse over time
     and they eventually may be prescribed oral medications
     and insulin. 17

The FACAC alleges that

     Tld and T2d can be diagnosed using a variety of tests.
     One common blood test used to diagnose Tld and T2d, as
     well as to monitor both conditions, is a test of a
     patient's "HbAlc levels."            HbAlc reflects the
     average glucose level in a patient's bloodstream over the
     prior two to three months and is determined by measuring
     what percentage of the patient's hemoglobin i[s] covered
     with glucose, or "glycated."     The higher a patient's
     HbAlc test percentage, the higher their risk of diabetes
     complications. Whether a drug is shown to reduce HbAlc
     levels is a key factor in whether the drug will be
     approved to treat diabetes.

          A person who does not have diabetes, will have a
     "normal" HbAlc level below 5.7%. A person with an HbAlc
     level between 5.7% and 6.4% is said to have "prediabetes"
     and is at risk of developing diabetes in the future. A
     person with an HbAlc level of 6.5% or higher on two
     separate occasions has diabetes, and an HbAlc level over
     8% indicates that the person's diabetes is not well­
     controlled and the person is at risk of diabetes


     15
          Id. at 20         <]I   62.
     16
          Id.   <]I   64.
     17
          Id. at 21         <]I   65.
                                                                            £
                                        6                                   f
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    complications. Over half of Tld sufferers have an HbAlc
    level over 8%. Most diabetes sufferers, including Tld
    sufferers, aim for an HbAlc level of 7% or lower.
         Tld and T2d sufferers are at risk of a variety of
    complications stemming from their bodies' inability to
    move glucose from their blood to their cells. One of
    these complications is "hyperglycemia" or "high blood
    glucose," which occurs when there is too much glucose in
    the blood. If left untreated, hyperglycemia can result
    in OKA. OKA is a serious, life-threatening condition
    that develops when diabetes sufferers do not produce
    enough insulin and their bodies are unable to use glucose
    in their blood for fuel.      Without glucose, diabetes
    sufferers begin to break down fats to use for energy,
    which results in a build-up of acids in the bloodstream
    called "ketones." The build-up of ketones causes OKA
    and, if left untreated, OKA can lead to diabetic coma or
    death.    People with Tld are much more likely to
    experience OKA than people with T2d. 18

The FACAC alleges that
     sotagliflozin was developed by the Company's own chemists
     as a medication that inhibits two sodium-glucose
     cotransporters: sodium-glucose cotransporter type 1, or
     "SGLT-1," which is a protein that enables the body's []
     gastrointestinal tract to absorb glucose, and sodium­
     glucose cotransporter type 2, or "SGLT-2," a protein that
     performs the same function in the kidneys.       When the
     body's SGLT-1 and SGLT-2 proteins are operating normally,
     they enable the body to preserve glucose for use as
     energy that would otherwise be passed out of the body
     through urination.      In theory, sotagliflozin would
     prevent the glucose filtered out by the body's
     gastrointestinal tract and kidneys from being reabsorbed
     into the body, which would pass out of the body via
     urination and lower a Tld patient's blood glucose. 19

     The FACAC alleges that "[i]n March [of] 2013 the FDA approved
Canagliflozin, a sodium-glucose cotransporter inhibitor that only



     18
          Id. at 21-22   <JI<JI   66-68.
     19
          Id. at 22-23   <JI   69.
                                           7
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worked to inhibit SGLT-2, for treatment of T2d," 20 that subsequently

the FDA grew so concerned by the incidences of DKA in diabetes

sufferers being treated with the approved SGLT-2 inhibitor that on

May    15, 2015, it issued a public "Drug Safety Communication"

warning of the risk of DKA to users of SGLT-2 inhibitors,21 and that

on December 15, 2015, it announced that all SGLT-2 inhibitors would

have to have labels warning about DKA. 22

        The FACAC alleges that in 2015

        Lexicon had arranged for three phase 3 trials to assess
        the safety and efficacy of sotagliflozin in approximately
        3,000 adults with inadequately controlled Tld. Lexicon
        named the trials "inTandem 1," inTandem 2," and
        "inTandem 3" (the "Phase 3 Trials").      InTandem 1 and
        inTandem 2 tested 200 mg and 400 mg doses of
        sotagliflozin, while inTandem 3 only tested 400 mg doses
        of the drug.

             The inTandem 1 and inTandem 2 trials began with a
        24-week double-blind treatment period, which was followed
        by a 28-week extension period. In addition, both trials
        enrolled Tld patients who at the time they were screened
        had HbAlc levels between 7% and 11%, although at the time
        the trials began, there was no limit on their HbAlc
        levels. The trials enrolled patients with a history of
        DKA, as long as the patients had not experienced DKA in
        the four weeks prior to screening and had no more than 2
        episodes of DKA in the prior 6 months. 23

The FACAC alleges that "[d] efendants knew that prior phase 2 trials

suggested that sotagliflozin was associated with the occurrence of


        20
             Id. at 23   <JI      70.




        23
             Id. at 24   <JI<JI    72-73.

                                            8
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OKA, " 24 and that "[b]ased on the FDA's               concern about the

incidence of OKA in SGLT-2 inhibitors,           [d]efendants knew that

significant incidences of OKA could cause the FDA to not approve

the drug because OKA was so substantial a health risk for diabetes

sufferers." 25    The FACAC alleges that

     [d]efendants decided to design the Phase 3 Trials so that
     the results would over-emphasize sotagliflozin's benefits
     and downplay the risks of OKA. For example, to put the
     maximum    emphasis    on    sotagliflozin's    benefits,
     [d]efendants set the "primary endpoint" of the inTandeml
     and inTandem2 trials as the "change from baseline HbAlc
     by week 24 of the trial." In other words, as long as
     HbAlc levels had declined by a certain amount by the end
     of the trials, the trials had obtained positive results
     regardless of the incidence of OKA.

          Defendants then designed a "secondary endpoint" for
     the inTandeml and inTandem2 trials as a "composite
     endpoint" that measured the "proportion of patients who
     achieved an Ale of less than 7% without an episode of
     severe hypoglycemia or OKA." The composite endpoint thus
     focused on the number of patients that had HbAlc under 7%
     and did not discuss the incidence of OKA other than in
     the context of how many more patients were benefitting
     from the drug than had experienced the catastrophic,
     life-threatening condition. Defendants were so enamored
     with this composite endpoint that they used it as the
     primary endpoint for the inTandem3 Phase 3 Trial.

          Defendant Coats assured analysts and investors that
     Lexicon had tailored the Phase 3 Trials to address the
     FDA's concerns about the safety and efficacy of
     sotagliflozin, telling attendees on a March 4, 2015 call
     with investors . . . that, "[t]he key is to stay focused
     on type 1 diabetes, which is where we are and be able to
     answer all the other questions that [the FDA] have for
     us, in terms of being able to show the balance of safety
     and efficacy, as these studies roll forward, and we have


     24
          Id. at 24   <[   74.
     2srd.
                                     9
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  structured these studies to achieve that." Defendants
  did not disclose, however, that this meant that the
  studies were designed to emphasize the benefits of
  sotagliflozin and hide the occurrence of OKA.

       The FDA told [d]efendants that the "composite
  endpoint" it planned to use in the Phase 3 Trials was
  likelv to create misleading results. The FDA likely told
  [d]efendants this in 2015, prior to the start of the
  Phase 3 Trials, or, at the very latest, by March 2018.
  Indeed, in a presentation to the FDA's Endocrinologic and
  Metabolic Drugs Advisory Committee on January 17, 2019,
  an FDA representative said that "[d]uring presubmission
  meetings with the sponsor [i.e., prior to March 26,
  2018], the FDA expressed concern about the utility of the
  composite endpoint and whether it would be adequate to
  characterize the overall benefit-risk" of sotagliflozin.
  Jan. 17, 2019, Advisory Committee Meeting Transcript
  ("Comm. Tr.") 118: 15-19. In other words, [d]efendants
  had actual knowledge that the FDA was concerned with the
  composite endpoint used by Lexicon in its Phase 3 Trials,
  which significantly affected the likelihood that the FDA
  would approve the drug, but never disclosed that fact to
  investors.26

  The FACAC alleges that

  [d]efendants publicly disclosed top-line primary efficacy
  endpoint data for the inTandeml trial in September 2016
  and additional data in May 2017; top-line primary
  efficacy endpoint data for the inTandem2 trial in
  December 2016 and additional data in August 2017; top­
  line data for the inTandem3 trial in June 2017; and
  pooled data for the inTandeml and inTandem2 clinical
  trials in September 2017. These disclosures consisted
  of, among other things, changes in patients' HbAlc
  levels, weight loss, incidences of hypoglycemia and
  incidences of OKA.       Although Defendants publicly
  disclosed the Phase 3 Trial results in September 2016,
  December 2016, May 2017, August 2017 and September 2017,
  they obtained, and thus had actual knowledge of, the
  Phase 3 Trial results in advance of these public
  disclosures.

  26
       Id. at 24-26   <J[<J[   75-78.

                                        10
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       After receiving the data, rather than disclose the
  truth about sotagliflozin to investors, [d]efendants
  began a campaign designed to emphasize its modest
  benefits while concealing its risks.    27



  The FACAC alleges that

  [i]ncidences of OKA exploded during the Phase 3 Trials.
  Indeed, materials created by the FDA summarizing the
  results of the Phase 3 Trials revealed that there had
  been an eightfo1d increase of DKA for sotag1if1ozin users
  over p1acebo.

       Not only did the Phase 3 Trials reflect a dramatic
  increase in OKA for patients taking sotagliflozin, but
  the inTandeml and inTandem2 trials showed that virtually
  all of the. incidences of OKA qualified as "serious," as
  defined by regulatory guidance, and over 68% of the
  instances were assessed by tria1 investigators to be
  severe.

       The incidence of OKA also increased over the course
  of the 52-week trials and continued to increase in spite
  of Lexicon's efforts to identify and manage those
  incidences. For example, Lexicon instructed investigators
  conducting the trials to closely monitor subjects for
  potential indicators of OKA, and gave test subjects
  expensive ketone testing strips and BHB monitors so that
  patients could check for signs of OKA, but none of these
  measures were effective in limiting the incidence of OKA.
  But the OKA that affected patients in the Phase 3 Trials
  was unique in that the symptoms that usually suggested
  the onset of OKA, like increased thirst or urination,
  were not re1iab1e to detect DKA in patients taking
  sotag1if1ozin during the Phase 3 Tria1s. This meant that
  patients had fewer early signs and symptoms and had to
  rely on ketone tests to see if a OKA episode was
  imminent. Patients were also at a risk of OKA for longer
  periods while on sotagliflozin because the medication had
  a long "half-life," meaning it remained in the body for
  long periods of time, expanding the timeframe when OKA
  could develop.    The incidence of OKA in the Phase 3
  Trials was so evenly dispersed that Lexicon could not
  identify classes of patients that were at greater risk of


  27
       Id. at 29 <Jl<j[ 87-88.

                                  11
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  DKA on sotagliflozin. Defendants never disclosed any of
  these issues concerning DKA to investors.

       To make matters worse, the effect that sotagliflozin
  was having on patients' HbAlc levels was not meaningful.
  The Phase 3 Trials only showed an average reduction of
  HbAlc for patients taking sotagliflozin of 0.3% to 0.4%,
  and an average weight loss of 2 to 3 kilograms per
  patient. Since over half of people with Tld have HbAlc
  levels over 8%, a decline of 0.3% to 0.4% would not have
  a substantial effect on Tld sufferers, who generally hope
  to achieve HbAlc levels of 7%. In addition, by reporting
  the average reduction in HbAlc, the Phase 3 Trials were
  potentially concealing the existence of a large number of
  insignificant declines in HbAlc,�, from 7.0% to 6.9%,
  with a small number of large decreases in an HbAlc in a
  patient with a high HbAlc level,�, from 8.5% to 7.2%.
  Since the HbAlc declines reported in the Phase 3 Trials
  were not meaningful, they were not likely to outweigh the
  extraordinary risk to patients posed by the increase in
  DKA.

       Similarly, the average weight loss experienced by a
  patient on sotagliflozin was less than 5% per patient,
  which also was not statistically meaningful. Finally,
  while patients in inTandem 1 and inTandem2 trials did see
  a decrease in hypoglycemia, a different life-threatening
  condition for diabetics that is caused by low blood
  sugar, incidence of hypoglycemia had increased over
  placebo in patients in the inTandem3 trial.

       In short, the sotagliflozin Phase 3 Trials showed a
  spike in incidences of DKA that were severe, difficult to
  identify and respond to, and resistant to [d]efendants'
  attempts to manage them. In addition, the spike in DKA
  had occurred in a tightly regulated clinical trial
  setting, which strongly suggested that the rate in DKA
  was actually understated compared to what would occur
  when the drug was marketed commercially. Finally, the
  relatively low benefits that some patients experienced
  were unlikely to be seen as outweighing the risks
  presented by the drug.
       In sum, the increases in DKA, over two-thirds of
  which were assessed to be severe; the modest reductions
  in HbAlc and weight; and the inconclusive trend of
  hypoglycemia in the Phase 3 Trials provided strong
  evidence that the FDA would not approve sotagliflozin.

                                  12
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  Defendants, however, did not disclose this information to
  investors.    Instead, [d]efendants used the Phase 3
  Trials, which they had designed to conceal the risks
  posed by OKA, in a campaign to obtain FDA approval by
  misleadingly   touting   the    purported   benefits   of
  sotagliflozin and concealing the risks of DKA. 28

  The FACAC alleges that

  [d]efendants had actual knowledge that the statements
  they were making about the performance of sotagliflozin
  in the Phase 3 Trials were misleading because Lexicon was
  responsible for the clinical development of sotagliflozin
  for Tld under the Sanofi Agreement, had met with FDA
  officials and had received data directly from the
  investigators conducting the trials, the development of
  sotagliflozin was essential for [] Lexicon's survival,
  and [d] efendants had designed the Phase 3 Trials to
  conceal the increased risk of OKA.

       In addition, confidential witnesses who worked for
  [d]efendants corroborated [d]efendants' knowledge of the
  problems with sotagliflozin in the Phase 3 Trials . . 29

  The FACAC alleges that

  [o]n March 26, 2018, Lexicon announced that Sanofi had
  submitted a new drug application ("NOA") to the FDA for
  sotagliflozin. The NOA sought approval for sotagliflozin
  "as an adjunct to insulin in adults with [Tld], for two
  proposed doses: 200 mg and 4 00 mg, both given twice
  daily. . . By filing the NOA, Sanofi was the "sponsor" of
  sotagliflozin. On May 22, 2018, Lexicon issued a press
  release announcing that the FDA had accepted Sanofi's
  NOA. 30




  28
       Id. at 26-28 <JI<JI 79-85.
  29
       Id. at 33   c_rrc_rr   96-97.
  30
       Id. at 34   CJI    100.

                                       13
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       In November of 2018                  the     FDA announced that an Advisory

Committee, a group of independent experts, would hold a public

meeting on January 17, 2019, to discuss the NOA for sotagliflozin. 31

       The FACAC alleges that before the Advisory Committee Meeting
both Lexicon (through Sanofi, as the "sponsor" of sotagliflozin),

and the FDA submitted briefing materials to the Advisory Committee.

Sanofi's briefing materials characterized the Phase 3 Trials as

showing that sotagliflozin "added to standard-of-care insulin and

glucose management, consistently and significantly reduced Ale

compared          to      placebo       without    increasing       the   risk    of      severe

hypoglycemia," and that HbAlc reductions "occurred in conjunction

with        improvements        in       measures      of   day-to-day     blood       glucose
variability [i.e., Glycemic Variability], treatment satisfaction

and    diabetes           distress,"       and    "without     weight     gain     caused     by
intensification of insulin treatment." Sanofi's briefing materials

acknowledged that "sotagliflozin increases the risk of OKA," but

argued that risk could be "managed with appropriate measures."

Sanofi's briefing materials also proposed a risk mitigation program

that consisted of advising physicians to carefully screen patients

at higher risk of OKA, offering literature asking patients to

lookout for OKA symptoms, to check their ketone levels, and to
contact       a         healthcare      provider       if   their    ketone      levels     were
positive. 32


       31
            Id.   <j[   101.
       32
            Id. at 35-36       <j[<j[   102-04    (quoting Sanofi Briefing Document,
                                                                       (continued...)
                                                  14
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       The FDA's briefing materials emphasized the risk of DKA to

patients       taking   sotagliflozin      stating,     "sotagliflozin     therapy

clearly increases that risk, and the risk may be unpredictable," 33

stating concerns about the clinical significance of the composite

endpoint used by Lexicon, and "suggested that the endpoint was not

'a clinically meaningful way to frame both the benefits and the

risks of sotagliflozin.'" 34          Acknowledging that while the time-in­

range and glycemic variability results are "valued by patients and

may relate to at least short-term improvements in quality of life

and treatment satisfaction," the FDA briefing materials stated that

those measures "do not have an established relationship with long-

term macrovascular and microvascular complications and have not

been        validated   for   use    in    regulatory    decision   making      for

antidiabetic drugs. " 35

       The     FACAC    alleges     that   the   FDA    "noted   that    ' [ d] uring

presubmission meetings with the sponsor, the FDA expressed concern




(...continued)
pp. 16, 19, and 22, Exhibit 2 to Defendants' Motion to Dismiss,
Docket Entry No. 34-2, pp. 18, 21, and 24).

      Id. at 36 ':II 105 (quoting FDA Briefing Document, p. 11,
       33

Exhibit 6 to Defendants' Motion to Dismiss, Docket Entry No. 34-6,
p. 12).

      Id. (quoting FDA Briefing Document, p. 11, Exhibit 6 to
       34

Defendants' Motion to Dismiss, Docket Entry No. 34-6, p. 12).

      Id. at 36-37 ':II 107 (quoting FDA Briefing Document, p. 10,
       35

Exhibit 6 to Defendants' Motion to Dismiss, Docket Entry No. 34-6,
p. 11).

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about the utility of the composite endpoint and whether it would be

adequate to characterize the overall benefit-risk.'" 36

     The FACAC alleges that the FDA

     harshly criticized [d]efendants' use of the composite
     endpoint,   telling    the   Advisory   Committee   that
     [r]eductions in HbAlc, severe hypoglycemia, and DKA, are
     of different clinical importance, but when they were
     lumped together, the increased risk in a more severe but
     less frequent component, OKA, would be hidden
     [s]ponsor defined net benefit masked increased risk in
     DKA in sotagliflozin groups. 37

In addition the FDA said that "[t]he rate of DKA continued to

increase for the sotagliflozin group throughout the trial while the

rate for placebo remains flat." 38          The FDA concluded "we think the

sponsor-defined net benefit endpoint masked the increased risk of

OKA in the sotagliflozin groups and does not actually assess the

net benefit of the product or help inform the overall benefit-risk

assessment. " 39 The FACAC alleges that the sponsor admitted attempts

to address the increase of DKA during the trial had no effect.40


      Id. at 39 � 116 (quoting Advisory Committee Meeting
     36

Transcript, p. 118:15-19, Exhibit 8 to Defendants' Motion to
Dismiss, Docket Entry No. 34-15, p. 119).

      Id. at 40 � 117 (citing Advisory Committee Meeting
     37

Transcript, p. 126:2-7, Exhibit 8 to Defendants' Motion to Dismiss,
Docket Entry No. 34-15, p. 127).

      Id. (citing Advisory Committee Meeting Transcript, p. 138:13-
     38

15, Exhibit 8 to Defendants' Motion to Dismiss, Docket Entry
No. 34-15, p. 139).

      Id. (citing Advisory Committee Meeting Transcript, p. 127:14-
     39

18, Exhibit 8 to Defendants' Motion to Dismiss, Docket Entry
No. 34-15, p. 129).
     40
          Id.   at   41   �   121   (citing   Advisory   Committee Meeting
                                                              (continued...)
                                       16
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     At the end of the meeting the Advisory Committee voted eight

to eight on the question of whether the overall benefits of

sotagliflozin outweighed the risks to support approval, and did not

recommend sotagliflozin for approval. 41      The FACAC alleges that

     [e]ach of the Advisory Committee members were given the
     opportunity after voting to explain the basis for their
     vote. All eight committee members who voted "no" pointed
     to the dramatic increase in DKA during the Phase 3
     Trials, which [d]efendants worked so hard to conceal, as
     outweighing the benefits of the drug. In addition the
     "no" voters said that the only benefit Lexicon and Sanofi
     had demonstrated from sotagliflozin was a "modest
     reduction[] in HbAlc" and that there was no evidence that
     the risk mitigation strategy of patient screening and
     ketone monitoring would have any effect on the risk of
     DKA. The "no" voters also repeatedly emphasized that the
     closely controlled setting of the Phase 3 Trials likely
     understated the risk of DKA. One committee member summed
     it up by saying, "we didn't get to hear from people who
     had DKA, and their life might have changed from that
     potentially life-threatening outcome.      Its increased
     eightfold, which I couldn't get over. " 42

     The FACAC alleges that while trading in Lexicon's stock was

suspended on Thursday, January 17, 2019, the day of the Committee

Meeting, that when trading resumed on Friday, January 18, 2019,

Lexicon's stock price declined roughly 23% to close at $5.96 per

share, and then fell to $4.46 per share on January 25, 2019, as the



     40
          continued)
          ( •••
Transcript, p. 288:22-289:4, 290:5-9, Exhibit 8 to Defendants'
Motion to Dismiss, Docket Entry No. 34-15, pp. 289-91).
     41
          Id. at 43 ':II 126.

      Id. ':II 127 (citing Advisory Committee Meeting Transcript,
     42

p. 373:12-19, Exhibit 8 to Defendants' Motion to Dismiss, Docket
Entry No. 34-15, p. 374).

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market digested the implications of the                 Advisory Committee's

deadlock.43     The FACAC alleges that

     [t]hese declines were attributable to the disclosure of
     the Advisory Committee's deadlock on sotagliflozin, which
     revealed that [d]efendants had been making false and
     misleading statements and/or omissions concerning the
     risk to patients of DKA, the drug's effectiveness, the
     FDA's concerns regarding the "composite endpoint" in the
     Phase 3 Trials and [d]efendants' touting of
     sotagliflozin's performance with regards to measures that
     had not been validated by the FDA for use in regulatory
     decision making.44

     The FACAC alleges that on March 22, 2019, Lexicon announced

that the FDA had issued a "Complete Response Letter"                   ( "CRL")

informing      it   that   the    FDA   would   not   approve   sotagliflozin.

Defendants held a call with analysts later that day but refused to

identify the reasons why the FDA rejected sotagliflozin. 45            On news

of the FDA's CRL, Lexicon's stock price fell 21.9% to close at

$6.20 per share on March 22, 2019, and fell to $5.26 per share on

March 28, 2019, as the market digested the CRL's implications.46

     The FACAC alleges that

     [o]n July 26, 2019, Sanofi disclosed that the top-line
     results for two (out of a total of 10) phase 3 trials it
     was conducting on the efficacy of sotagliflozin as a
     treatment for T2d failed to achieve "statistically
     significant reductions" in HbAlc, and that Sanofi was
     terminating the Sanofi Agreement. Sanofi's termination


     43
          Id. at 43-44 <JI 128.
     44Id.
     45
          Id. at 44 <JI 130.
     46
          Id. at 45 <JI 132.

                                         18
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      of the Sanofi Agreement was clearly the result of the
      Advisory Committee's deadlocked vote, which led to the
      FDA's decision to reject sotagliflozin.       This was a
      materialization of the risk stemming from [d]efendants'
      false and misleading statements and/or omissions
      concerning the risk to patients of DKA, the drug's
      effectiveness,   the   FDA's concerns regarding the
      "composite endpoint" in the Phase 3 Trials and
      [d]efendants' touting of                  sotagliflozin's
      performance with regards to measures that had not been
      validated by the FDA for use in regulatory decision
      making, which had already led to the Advisory Committee's
      deadlocked vote at the Committee Meeting and the FDA's
      decision not to approve sotagliflozin as a Tld
      treatment. 47
The FACAC alleges that following news that the Sanofi Agreement was

being terminated, Lexicon's stock price fell $4.00 per share, or

70.3%, to close at $1.69 per share on July 29, 2019." 48



                      II. Defendants' Motion to Dismiss

      Defendants argue that the FACAC should be dismissed pursuant
to Federal Rule of Civil Procedure 12(b) (6) because plaintiffs have

failed to satisfy the pleading requirements for stating either a

primary claim under § l0(b) of the Exchange Act and Rule l0b-5

promulgated thereunder or a secondary claim for control person

liability under § 20(a) of the Exchange Act. 49         Defendants argue

that plaintiffs have failed to allege facts capable of establishing


      47
           Id. at 46 <JI 135.


      49
           Defendants' Motion to Dismiss, Docket Entry No. 33, pp. 6,
30.

                                     19
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(1) that they made an actionable misstatement or omission; (2) that

any actionable misstatement or omission was made with scienter; or
(3) caused the loss for which plaintiffs seek relief.50                   Defendants

argue that the control-person claims under§ 20(a) asserted against

the Individual Defendants fail because plaintiffs have failed to

state a claim for securities fraud under §l0(b) or Rule l0b-5.51



A.     Standards of Review

       1.      Federal Rule of Civil Procedure 12 (b) (6)

       Defendants' motion to dismiss is governed by Federal Rule of

Civil Procedure 12(b)(6). A Rule 12(b)(6) motion tests the formal

sufficiency of the pleadings and is "appropriate when a defendant

attacks       the   complaint        because    it   fails   to   state   a   legally

cognizable claim."             Ramming v. United States, 281 F.3d 158, 161

(5th Cir. 2001), cert. denied sub nom. Cloud v. United States, 122
S. Ct. 2665 (2002).            The court must accept the factual allegations

of the complaint as true, view them in a light most favorable to
the    plaintiff,        and     draw   all     reasonable    inferences      in   the
plaintiff's favor.             Id.   To defeat defendants' motion to dismiss
Lead Plaintiff must plead "enough facts to state a claim to relief

that is plausible on its face."                 Bell Atlantic Corp. v. Twombly,


      Id.
       50
            See also id. ·at 18-27 (misrepresentations); 27-29
(scienter); 29-30 (loss causation). See also Defendants' Reply,
Docket Entry No. 37, pp. 7-10 (failure to plead scienter).
       51
            Id. at 30.
                                           20
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127 S. Ct. 1955, 1974 (2007).        "A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the

misconduct alleged."      Ashcroft v. Igbal, 129 S. Ct. 1937, 1949

(2009) (citing Twombly, 127 S. Ct. at 1965).            "Where a complaint

pleads facts that are       'merely consistent with' a defendant's

liability, it 'stops short of the line between possibility and

plausibility of entitlement to relief.'"         Id.

     When considering a motion to dismiss courts generally are

limited to the complaint and its proper attachments.             Dorsey v.

Portfolio Eguities,     Inc.,   540 F.3d 333,     338   (5th Cir. 2008).

Courts may, however, also "rely on 'documents incorporated into the

complaint by reference,      and matters of which a court may take

judicial notice.'"      Id. (quoting Tellabs, Inc. v. Makor Issues &

Rights,   Ltd.,   127 S. Ct. 2499,       2509   (2007)).    See also Truk

International Fund LP v. Wehlmann, 737 F. Supp. 2d 611, 616 (N.D.

Tex. 2009), aff'd, 389 F. App'x 354 (5th Cir. 2010) (courts may

consider "the full text of documents partially quoted in the

complaint").      In securities cases courts may take judicial notice

of the contents of public disclosure documents that are required by

law to be filed with the SEC and are actually filed with the SEC,

with the caveat that these documents may be considered only for the

purpose of determining the statements they contain; not for proving

the truth of their contents.      Lovelace v. Software Spectrum Inc.,

78 F.3d 1015, 1018 & n.l (5th Cir. 1996).

                                    21
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     2.      Federal Securities Law

     Section l0(b) of the Exchange Act makes it unlawful

     [t]o use or employ, in connection with the purchase or
     sale of any security . . . any manipulative or deceptive
     device or contrivance in contravention of such rules and
     regulations as the [SEC] may prescribe as necessary or
     appropriate in the public interest or for the protection
     of investors.

15 U.S.C. § 78j (b).     Rule l0b-5 makes it

     unlawful for any person, directly or indirectly, by the
     use of any means or instrumentality of interstate
     commerce, or of the mails or of any facility of any
     national securities exchange,

        (a) To employ any device, scheme, or artifice to defraud,

     (b) To make any untrue statement of a material fact or to
     omit to state a material fact necessary in order to make
     the statements made, in the light of the circumstances
     under which they were made, not misleading, or

        (c) To engage in any act, practice, or course of business
        which operates or would operate as a fraud or deceit upon
        any person, in connection with the purchase or sale of
        any security.

17 C.F.R. § 240.l0b-5.             To recover damages for violations of

§ l0(b) and Rule l0b-5, plaintiffs must prove

        (1) a material misrepresentation or omission by the
        defendant; (2) scienter; (3) a connection between the
        misrepresentation or omission and the purchase or sale of
        a security; (4) reliance upon the misrepresentation or
        omission; (5) economic loss; and ( 6) loss causation.

Halliburton Co. v. Erica P. John Fund, Inc., 134 S. Ct. 2398,             2407

(2014) (quoting Amgen Inc. v. Connecticut Retirement Plans and

Trust    Funds,   133   S.   Ct.    1184,   1192   (2013)   (quoting   Matrixx

Initiatives, Inc. v. Siracusano, 131 S. Ct. 1309, 1317-18 (2011)).


                                       22
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A fact is material if the reasonable investor would have found the

fact significant in making the decision to invest.                Basic Inc. v.

Levinson, 108 S. Ct. 978, 986 (1988). Such claims are subject to

pleading requirements of both Federal Rule of Civil Procedure 9(b)

and the Private Securities Litigation Reform Act ("PSLRA").

Lormand v. US Unwired, Inc., 565 F.3d 228, 239 (5th Cir. 2009).



           (a)    Federal Rule of Civil Procedure 9(b)

     Rule 9(b) requires that "[i]n alleging fraud or mistake, a

party must state with particularity the circumstances constituting

fraud or mistake. Malice, intent, knowledge, and other conditions

of a person's mind may be alleged generally."                Fed.R.Civ.P. 9(b).

Pleading fraud with particularity in this circuit requires "the

particulars      of   'time,     place,       and     contents   of   the   false

representations, as well as the identity of the person making the

misrepresentation     and      what   [that    person]     obtained   thereby.'"

Tuchman v. DSC Communications Corp., 14 F.3d 1061, 1068 (5th Cir.

1994) (quoting Tel-Phonic Services,                 Inc. v. TBS International,

Inc., 975 F.2d 1134, 1139 (5th Cir. 1992)).                See also Carroll v.

Fort James Corp., 470 F.3d 1171, 1174 (5th Cir. 2006) (quoting

United States ex rel. Riley v. St. Luke's Episcopal Hospital, 355

F.3d 370, 381 (5th Cir. 2004) ("In cases concerning fraudulent

misrepresentation and omission of               facts,    Rule 9(b)    typically

requires the claimant to plead the type of facts omitted, the place


                                       23
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in which the omissions should have appeared, and the way in which

the omitted facts made the representations misleading.")).                    "A

dismissal for failure to plead fraud with particularity as required

by Rule 9(b) is a dismissal on the pleadings for failure to state

a   claim."    Southland    Securities     Corp.   v.   INSpire    Insurance

Solutions, Inc., 365 F.3d 353, 361 (5th Cir. 2004) (citing Shushany

v. Allwaste, Inc., 992 F.2d 517, 520 (5th Cir. 1993)).



            (b)   Private Securities Litigation Reform Act

      In 1995 Congress amended the Exchange Act by passing the

PSLRA, 15 U.S.C. § 78u-4(b)(1), which, in relevant part, states:

      (1)   Misleading statements and omissions

      In any private action arising under this chapter in which
      the plaintiff alleges that the defendant--

            (A)   made an untrue statement of a material fact;
                  or

            (B)   omitted to state a material fact necessary in
                  order to make the statements made, in the
                  light of the circumstances in which they were
                  made, not misleading;

      the complaint shall specify each statement alleged to
      have been misleading, the reason or reasons why the
      statement is misleading, and, if an allegation regarding
      the statement or omission is made on information and
      belief, the complaint shall state with particularity all
      facts on which that belief is formed.

      (2)   Required state of mind

            (A) In general

            Except as provided in subparagraph (B), in any
            private action arising under this chapter in which
            the plaintiff may recover money damages only on

                                      24
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           proof that the defendant acted with a particular
           state of mind, the complaint shall, with respect to
           each act or omission alleged to violate this
           chapter, state with particularity facts giving rise
           to a strong inference that the defendant acted with
           the required state of mind.



     (3)   Motion to dismiss; stay or discovery

             (A)   Dismissal for        failure   to    meet   pleading
                   requirements

           In any private action arising under this chapter,
           the court shall, on the motion of any defendant,
           dismiss the complaint if the requirements of
           paragraphs (1) and (2) are not met.

15 U.S.C. § 78u-4(b).       The PSLRA's heightened pleading standard is

targeted at preventing abusive securities litigation. See Tellabs,
127 S. Ct. at 2504 ("Private securities fraud actions                   if not

adequately     contained,    can   be     employed     abusively   to   impose

substantial costs on companies and individuals whose conduct

conforms to the law.").

     In ABC Arbitrage Plaintiffs Group v. Tchuruk, 291 F.3d 336,
350 (5th Cir. 2002), the Fifth Circuit combined the Rule 9(b) and

the PSLRA pleading requirements into one succinct directive:

     [A] plaintiff pleading a false or misleading statement or
     omission as the basis for a section l0(b) and Rule l0b-5
     securities fraud claim must, to avoid dismissal pursuant
     to Rule 9(b) and [the PSLRA]:
     (1)   specify each statement alleged to have been
           misleading, i.e., contended to be fraudulent;
     (2)     identify the speaker;

     (3)     state when and where the statement was made;


                                     25
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     (4)    plead with particularity the contents of the false
            representations;

     (5)    plead with particularity what the person making the
            misrepresentation obtained thereby; and

     (6)    explain the reason or reasons why the statement is
            misleading, i.e., why the statement is fraudulent.

     This is the "who, what, when, where, and how" required
     under Rule 9(b) in our securities fraud jurisprudence and
     under the PSLRA. Additionally, under [the PSLRA], for
     allegations made on information and belief, the plaintiff
     must:

     (7)    state with particularity all facts on which that
            belief is formed, i.e., set forth a factual basis
            for such belief.

     In Indiana Electrical Workers' Pension Trust Fund IBEW v. Shaw

Group, Inc., 537 F.3d 527, 533 (5th Cir. 2008), the Fifth Circuit

held that the PSLRA enhanced the particularity requirements for

pleading private claims of securities fraud by requiring plaintiffs

(1) to "specify each statement alleged to have been misleading,
[and] the reason or reasons why the statement is misleading. . . ;"

and (2) "for each act or omission alleged to be false or misleading
         state with particularity facts giving rise to a strong

inference that the defendant acted with the required state of
mind."     Quoting Tellabs, 127 S. Ct. at 2509-10, the Fifth Circuit

acknowledged that     "a court must take into account plausible

inferences opposing as well as supporting a strong inference of
scienter," and that "[t]he inference of scienter must ultimately be
'cogent and compelling,' not merely 'reasonable' or 'permissible.'"

Indiana Electrical, 537 F.3d at 533.       In Lormand, 565 F.3d at 257-


                                    26
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58, however, the Fifth Circuit held that the PSLRA did not heighten

the pleading requirements for loss causation, which remain subject

to Federal Rule of Civil Procedure 8(a)( 2) 's plausibility standard.

       The PSLRA contains a safe harbor provision that protects

defendants from liability for certain forward-looking statements

that later prove false.          15 U.S.C. § 78u-5(c)(1)(A)(i, ii). "To

avoid the safe harbor, plaintiffs must plead facts demonstrating

that the statement was made with actual knowledge of its falsity."

Southland, 365 F.3d at 371.



B.     Analysis

       1.      Claims for Violation of§ l0(b) and Rule l0b-5

                {a)   The Misrepresentations Alleged Are Not Actionable

       The FACAC alleges that defendants misrepresented the results

of the Phase 3 Trials for sotagliflozin on 19 different occasions:

four Form 10-Ks and the related SOX Certifications filed with the

SEC in March of 2016, 2017, 2018, and 2019; nine Press Releases

issued on September 9, 2016, December 21, 2016, May 11, 2017, June

9, 2017, August 15, 2017, September 8 and 13, 2017, and June 23 and

24, 2018; three Earnings Calls held on August 4, 2016, September 9,
2016, and November 8, 2017; and three presentations at conferences
held on January 11, 2017, September 5, 2018, and January 9, 2019. 52
The FACAC alleges that

       52
            FACAC, Docket Entry No. 27, pp. 46-68 �� 137-198.
                                       27
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     [d]efendants made their materially false and misleading
     statements   and/or    omissions   about    sotagliflozin
     throughout the Class Period in SEC filings, press
     releases, presentations, and conference calls with
     investors and analysts.      Their statements uniformly
     (i) concealed the stunning increases in OKA associated
     with sotagliflozin over placebo; (ii) failed to disclose
     that the FDA had warned against using the "composite
     endpoint" in the Phase 3 Trials, (iii) misrepresented the
     benefits of sotagliflozin; (iv) failed to disclose that
     the Time-in-Range and Glycemic Variability measures
     Lexicon touted were not validated for use in regulatory
     decision making for antidiabetic drugs; (v) failed to
     disclose that Lexicon did not have a meaningful risk
     management plan for OKA, which was essential to the
     approval of sotagliflozin.53

     Asserting     that   "[t]he   gravamen   of   the   FAC[AC]   is   that

investors were blind sided by [the] FDA's decision not to approve

sotagliflozin for [Tld] patients prior to the Advisory Committee

[Meeting], "54 defendants argue that "Plaintiffs have failed to

identify any information relevant to assessing the risk that FDA

would not approve sotagliflozin that was not, in fact, disclosed."55


      Id. at 8 <JI 20. See also id. at 46-47 <JI 137 ("Throughout the
     53

Class Period, Lexicon and the Indivictual Defendants made false
and/or misleading statements and/or omissions that (i) minimized
the risks of OKA associated with sotagliflozin; (ii) misrepresented
that the purported benefits of sotagliflozin would outweigh the
risks of OKA; (iii) failed to disclose that the Time-in-Range and
Glycemic Variability measures touted by Lexicon had not been
validated for use in regulatory decision making for antidiabetic
drugs; (iv) failed to disclose that Lexicon did not have a
meaningful risk management plan for OKA; and (v) as a result,
Lexicon's public statements were materially false and misleading at
all relevant times.     These false and/or misleading statements
and/or omissions created a false impression of the likelihood that
the Advisory Committee would recommend that the FDA approve
sotagliflozin.").
     54
          Defendants' Motion to Dismiss, Docket Entry No. 33, p. 18.
     55Id.     See also id. at 18-27     (arguing that Lexicon did not
                                                         (continued ...)

                                    28
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Citing inter alia Nathenson v. Zonagen, Inc., 267 F. 3d 400, 420

(5th Cir. 2001), defendants argue that

        [t]he overwhelming weight of authority        holds that
        the securities laws do not require a company to disclose
        alleged inadequacies or shortcomings of clinical trials,
        as long as the trials are accurately described and the
        data is not falsified.56

        Plaintiffs        respond       that    they    have    pleaded    actionable

misstatements and omissions by alleging that defendants (1) failed

to     disclose       FDA    warnings      against      the    composite    endpoint,

(2)          misrepresented       the     extent       and     severity    of    OKA,
( 3) misrepresented the benefits of sotagliflozin, ( 4) failed to

fully disclose that "time-in-range" was not a validated endpoint,

and (5) mislead investors about their risk management protocol. 57

Asserting          that   FACAC   "does    allege      actionable   misstatements,"

plaintiffs argue that defendants'                   SOX certifications are also

actionable.58




           continued)
        55 (
             •••

conceal an FDA warning, accurately disclosed its trial results, the
limitations of its OKA risk management plan, that "Time-in-Range"
was not a validated endpoint, and that SOX Certifications are not
independently actionable).
        56   Defendants' Reply, Docket Entry No. 37, p. 17.
        57
             Plaintiffs' Opposition, Docket Entry No. 35, pp. 16-27.
        58
             Id. at 27.
                                               29
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                   (1)   Plaintiffs' Allegations that Defendants Failed
                         to Disclose FDA Warnings against the Composite
                         Endpoint Are Not Actionable

     Citing the transcript of the Advisory Committee Meeting held

on January 17, 2019, the FACAC alleges defendants reported that

sotagliflozin achieved a composite endpoint but misleadingly failed

to disclose that the FDA had expressed concern about whether the

composite endpoint would be adequate to characterize the overall

benefit-risk on eight different occasions, i.e., in two Form 10-Ks

filed with the SEC in March of 2018 and 2019 for fiscal years 2017

and 2018, respectively, and in six press releases issued on May 11,

2017, June 9, 2017, August 15, 2017, September 13, 2017, and June

23 and 24, 2018. 59      The FACAC alleges that

     [t]o obtain results in the Phase 3 Trials that emphasized the
     purported benefits of sotagliflozin and minimized the risk of
     DKA, Defendants designed a "composite endpoint" as the
     secondary endpoint in the inTandeml and inTandem2 trials and
     the primary endpoint for the inTandem3 trial. The composite
     endpoint measured the "proportion of patients who achieved an
     Ale of less than 7% without an episode of severe hypoglycemia
     or DKA." By reporting the amount of patients who achieved an
     HbAlc level below 7% without an episode of severe hypoglycemia
     or DKA, however, the composite endpoint reported the incidence
     of a catastrophic, life-threatening condition in the context
     of how many more patients were benefitting from the drug.

           Unbeknownst to investors,      "[d] uring presubmission
     meetings with the sponsor, the FDA expressed concern about the
     utility of the composite endpoint and whether it would be
     adequate to characterize the overall benefit-risk" of
     sotagliflozin.    Comm. Tr. 118: 15-19.     As is the general
     practice in clinical testing of proposed medications i the FDA
     met with Defendants prior to the start of the Phase 3 Trials
     in 2015 to discuss the content of those trials. Moreover, the
     FDA also met with Defendants in the lead-up to the submission


     59
          FACAC, Docket Entry No. 27, pp. 53-56 �� 153-61.

                                     30
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        of the sotagliflozin NOA in March 2018.    Thus, as early as
        2015, and in any event by March 2018, at the latest,
        Defendants had actual knowledge that the FDA was not in favor
        of the composite endpoint used by Lexicon in its Phase 3
        Trials, and that the composite endpoint did not "actually
        assess the net benefit of the product or help inform the
        overall benefit-risk assessment,   Comm. Tr. 126:2-7, 127: 14-
                                             11

        18, and thus that the Advisory Committee was unlikely to vote
        that the benefits of sotagliflozin outweighed the risks and
        the FDA was unlikely to approve the drug. While Defendants
        repeatedly touted to investors throughout the Class Period
        that the Phase 3 Trials had achieved the composite endpoint,
        Defendants never disclosed the FDA's concerns to investors. 60

The FACAC alleges that defendants' statements about having achieved the

composite endpoint

        [a]s set forth in <JI<][ 153-160 . . . were false and misleading
        because Defendants had failed to disclose that (i) they had[]
        devised the composite endpoint to highlight the benefits of
        sotagliflozin while concealing the risks of OKA, (ii) the FDA
        has expressed concerns [about] the composite endpoint . . .
        multiple times, and (iii) that the composite endpoint "does
        not actually assess the net benefit of the product or help
        inform the overall benefit-risk assessment.   11 Comm. Tr. 126: 2-
        7, 127:14-18. 61

        Asserting that plaintiffs provide no facts to back up their

allegation that the FDA warned them about the composite endpoint,

defendants argue that the FACAC's allegations that they failed to

disclose an FDA warning should be dismissed because they are not

sufficient to s tate a claim for securities f raud by omission. 62

Defendants also argue that they had no duty to disclose an FDA



      Id. at 53-54 <Jl<Jl 153-54 (quoting Advisory Committee Meeting
        60

Transcript, pp. 118:15-19, 126:2-7, 127:14-18, Exhibit 8 to
Defendants' Motion to Dismiss, Docket Entry No. 34-15, pp. 119,
127-28).

      Id. at 56 <JI 161 (quoting Advisory Committee Meeting
        61

Transcript, pp. 126:2-7, 127:14-18, Exhibit 8 to Defendants' Motion
to Dismiss, Docket Entry No. 34-15, pp. 127-28).
        62
             Defendants' Motion to Dismiss, Docket Entry No. 33, pp. 22-
24.

                                        31
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concern because the composite endpoint was only a secondary not a

pivotal endpoint, and because the FDA's statement at the Advisory

Committee Meeting "proves only that reasonable scientists can

disagree about the probative value of an endpoint." 63

     Citing      In     re     Amylin    Pharmaceuticals,        Inc.    Securities

Litigation, 2003 WL 21500525, at *8 (S.D. Cal. May 1, 2003), In re

CV Therapeutics, Inc. Securities Litigation, No. C 03-03709 SI,

2004 WL 1753251, at *8-*9 (N.D. Cal. August 5, 2004), and In re

Transkaryotic Therapies, Inc. Securities Litigation, 319 F.Supp.2d

152, 160 (D. Mass. 2004), plaintiffs argue that "[w]hen the FDA

expresses significant concerns regarding sufficiency of clinical

trials, those concerns must be disclosed." 64

     The      FACAC's    allegations          that   the   defendants     committed

securities fraud by omission by failing to disclose (i) that the

composite     endpoint       was   designed    to    highlight   the    benefits   of
sotagliflozin while concealing the risks of OKA, (ii) that the FDA had
concerns about the composite endpoint, and (iii) that the composite
endpoint did not actually assess the net benefit of the product or help
inform the overall benefit-risk assessment are based on statements made

at the Advisory Committee Meeting held on January 17, 2019, 65 long


     63
       Defendants' Reply, Docket Entry No. 37, pp. 11-14. See also
id. at 14-17 (arguing that plaintiffs fail to adequately allege FDA
concerns and that defendants had no duty to disclose interim
comments from the FDA on a non-pivotal secondary endpoint).
     64
          Plaintiffs' Opposition, Docket Entry No. 35, p. 16.
     65
          Id. at 17-18 (citing FACAC, Docket Entry No. 27, pp. 39-40
                                                       (continued...)

                                          32
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after defendants made all but one of the statements about the

composite endpoint that the FACAC alleges were misleading.                  The

only statement about having achieved the composite endpoint alleged

to have been made after the Advisory Committee Meeting is the

statement included in Lexicon's 2018 Annual Report filed with the

SEC on Form 10-K on March 15, 2019. 66         Because the information that

plaintiffs allege defendants failed to disclose was,                 in fact,

publicly disclosed during the Advisory Committee Meeting,                   the

failure to disclose that information in Lexicon's 2018 Annual

Report filed in March 2019, almost two months after the Advisory

Committee     Meeting,   could   not    have   made    statements   about   the

composite     endpoint contained in         Lexicon's    2018   Annual   Report

misleading.

     Missing from the FACAC,           however,   are allegations of facts

capable of showing that the composite endpoint was,                  in fact,

designed    to   highlight   the       benefits   of    sotagliflozin     while

concealing the risks of OKA,           or that when defendants made the

statements alleged to be misleading there existed any information

that the composite endpoint did not assess the net benefit of

sotagliflozin and would not help inform the overall benefit-risk


       ( •••continued)
     65

� 116, 54 � 154, and 70 � 205).

      FACAC, Docket Entry No. 27, pp. 55-56 � 159 ( stating that
     66

there were "statistically significant improvements           in the
percentage of patients achieving Ale levels of less than 7% without
any severe hypoglycemia or OKA events").

                                       33
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assessment.     The FACAC's allegations that defendants' statements

about the composite endpoint were misleading are based a statement

made by an FDA representative at the Advisory Committee Meeting

that "[d]uring presubmission meeting with the sponsor, the FDA

expressed concern about the utility of the composite endpoint and

whether it would be adequate to characterize the overall benefit­

risk [of sotagliflozin]." 67     Missing from the FACAC, however, are

allegations of facts showing when, where, to whom, or how the FDA

raised its concern about the composite endpoint.                Citing the

FACAC's allegations that Lexicon planned the phase 3 trials in

2015, and that Sanofi submitted the NOA in March 2018, plaintiffs

argue that the FDA's concern had to have been raised to the sponsor

sometime between 2015 and 2018. 68        As defendants argue, however,

"[t]he date of the alleged warning is critical because [p]laintiffs

cannot argue that a statement was misleading on the basis of a

warning given after that statement was made." 69          Since, moreover,

the FDA representative told the Advisory Committee that the concern

was raised to the "sponsor," and the FACAC alleges that the sponsor

was Sanofi, not Lexicon, 70 the FACAC does not contain allegations


      Plaintiffs' Opposition, Docket Entry No. 35, p. 17 (citing
     67

FACAC, Docket Entry No. 27, pp. 39-40 � 116).
      Id. (citing FACAC, Docket Entry No. 27, pp. 54 � 154, and 70
     68

� 205).

      Defendants' Reply, Docket Entry No. 37, p. 16
     69
                                                                   (emphasis
added).
     7
         °FACAC, Docket Entry No. 27, p. 34 � 100 (identifying Sanofi
                                                       (continued...)

                                     34
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of fact showing that an FDA concern about the composite endpoint

was ever raised to the defendants.

      Asserting that "[a]ny suggestion that the FAC[AC] only alleges

a   warning          to   Sanofi,    and   not     Lexicon,   should   be   rejected,u

plaintiffs argue in a footnote that

      [i]t is not plausible that FDA feedback on the Phase 3
      Trials would not reach [d]efendants, who were solely
      responsible for the trials, when Coats was promising that
      the trials addressed FDA expectation.    The Court would
      have to infer that Sanofi did not share warnings with
      Defendants that put Sanofi's investment of hundreds of
      millions of dollars at risk. 71

The court reads this footnote as plaintiffs' acknowledgment that

the FACAC does not allege facts capable of establishing that the

FDA concern was raised to the defendants.

        Because the FACAC does not contain facts showing when, where,

to whom, or how the FDA concern about the composite endpoint was

communicated, the FACAC's allegations that defendants' statements

about        having       achieved   a     composite    endpoint   were     false   and

misleading for having failed to disclose an FDA concern are not

sufficiently particularized to state claims for securities fraud by

omission.            See Gerneth v. Chiasma, No. 16-11082, 2018 WL 935418, *7

(D. Mass. February 15, 2018) ("At the very least, [the plaintiff]

must plead that the information did exist to allege plausibly that



        70
          continued)
             ( •••

as the sponsor of the NDA for sotagliflozin).
        71   Plaintiffs' Opposition, Docket Entry No. 35, p. 19 n. 7.

                                              35
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[d] efendants should have disclosed it.") (citing Gross v. Summa

Four, Inc., 93 F.3d 987, 995 (1st Cir. 1996) (superseded by statute

on other grounds)      (rejecting argument that press release was

misleading based on reference to information contained in board

minutes created after the press release was issued)).

      While the Fifth Circuit has recognized that "evidence of later

events can provide useful circumstantial evidence that a given

representation was false when made," Masel v. Villarreal, 924 F.3d

734, 750 (5th Cir. 2019), the Fifth Circuit explained that such an

inference could be raised when "the representation in question

concerned an asset or skill possessed by the defendant .            .   .,   [and]

the defendant's failure to perform as promised cast doubt on

whether the defendant possessed that skill in the first place."

Id.   Plaintiffs have not cited and the court has not found any

authority that has accepted a vague reference to an earlier

communication       such   as   the   reference   made   at   the       Advisory

Committee Meeting - as sufficient to allege that statements made by

the defendants months and years earlier were false or misleading

when made.   The cases plaintiffs cite in support of their omission

theory regarding an FDA concern about the composite endpoint are

illustrative and bolster the court's conclusion that the FACAC's

allegations regarding the defendants' failure to disclose an FDA

concern are not sufficient to allege actionable omissions.




                                      36
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        In each of the cases on which plaintiffs rely the allegations

were found sufficient to allege actionable                          omissions         because

plaintiffs pleaded facts showing that when the defendants made the

allegedly misleading statements, those statements were directly

contradicted     by     undisclosed          information           available      to      the

defendants.      In     Amylin    the     court      found    that     plaintiffs         had

adequately pleaded an actionable omission by alleging that the

defendants publicly advertised the FDA's approval of its phase 3

trial    methodology     while     omitting         that     the    FDA    had    in     fact

highlighted     particular        ways       in     which    its     methodology          was

"inconsistent with clinical practice"                      and would therefore be

difficult for the FDA to evaluate.                 2003 WL 21500025, at *l and *8.

The Amylin court also found that the plaintiffs adequately pleaded

actionable omissions by alleging that defendants publicly reported

that successful results were obtained without an increase in severe

hypoglycemic events when, in fact, the company knew that severe

hypoglycemia was a significant side effects.                              Id.    at    *10.

Likewise, in each of the other cases plaintiffs cite, the courts

held that the plaintiffs adequately pleaded actionable omissions by

quoting from specifically identified and dated communications that

the FDA had provided to the defendants stating, inter alia, that

the FDA found major deficiencies pertaining to the company's

clinical     studies,     In     re     CV    Therapeutics,          Inc.       Securities

Litigation,    2004     WL     1753251,       at    *l,     and    that    the    FDA     had


                                             37
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recommended additional clinical studies.               In re Transkaryotic

Therapies, Inc. Securities Litigation, 319 F.Supp.2d at 160.

       Citing Stone v. Life Partners Holdings, Inc., 26 F.Supp.3d

575, 604 (W.D. Tex. 2014), plaintiffs argue that "the FAC[AC]'s

reference to the specific FDA report disclosing the warning is

sufficient to defeat a motion to dismiss." 72          But because the FACAC

does not reference a specific FDA report disclosing the warning,

Stone is distinguishable and does not support the plaintiffs'

argument.         In Stone the plaintiffs alleged that the defendants'

statements were misleading because they were contradicted by

information contained in specifically identified and dated reports

that were not only created by the defendant company, but were on

file with the Texas Department of Insurance when the defendants

made the statements at issue.           Id. at 602-04.   The FACAC contains

no such particularized allegations of the FDA's alleged concern.

       The allegations in the FACAC are, instead, comparable to those

at issue in Hoey v. Insmed Inc., Civil Action No. 16-4323 (FLW),

2018 WL 902266 (D.N.J. February 15, 2018), on which the defendants

rely.        In Hoey the court dismissed a securities fraud claim based

on allegations that the defendants failed to disclose a regulatory

warning about a pre-defined endpoint because the complaint cited

only     a     description   of   the   regulator's   communication   to   the

defendants and failed to cite an actual communication from the


        72
             Id. at 19.

                                         38
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regulator capable of showing that the defendants were aware of the

regulator's concerns when they made the statements at issue.                           Id.

at *13 (citing Fed.R.Civ.P. 9(b) ("In all averments of fraud or

mistake, the circumstances constituting fraud or mistake shall be

stated with particularity.")).                Because plaintiffs in this case

fail to cite an actual communication from the FDA to the defendants

showing that when the defendants made the statements about the

composite endpoint alleged to be misleading, the FDA's concerns

were    available      to    them,     the   defendants'       statements      are     not

actionable as false or misleading, and the defendants' failure to

disclose     those          concerns       are    not       actionable     omissions.

Alternatively, for the reasons stated in § II.B.l(b), below, the

court     concludes       that      defendants'    composite         endpoint-related

statements are not actionable because plaintiffs have failed to

plead facts      capable       of    establishing       a   strong    inference      that

defendants made any of the alleged statements with scienter.



                    (2)     Plaintiffs'   Allegations    that Defendants
                            Misrepresented the Extent and Severity of OKA
                            Are Not Actionable

        Citing   FDA      briefing     materials    provided      to     the   Advisory

Committee and the transcript of the Advisory Committee Meeting held

on January 17, 2019, plaintiffs argue that defendants misleadingly

minimized the       risk      of     OKA   presented    by    sotagliflozin       on    15

different occasions, i.e., four Form 10-Ks filed with the SEC in

March of 2016, 2017, 2018, and 2019; six Press Releases issued on

                                             39
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September 9, 2016, December 21, 2016, May 11, 2017, September 13,

2017, and June 23 and 24, 2018; three Earnings Calls held on August

4,    2016,     September   9,   2016,   and    November    8,   2017;   and   two

presentations at conferences held on January 11, 2017, and January

9, 2019.73        Plaintiffs do not allege that defendants falsely

reported the number of incidences of OKA, but, instead, that

       throughout the Class Period Defendants minimized risks of
       OKA associated with sotagliflozin by downplaying the
       incidences of the life threatening condition and by
       failing to disclose that patients taking sotagliflozin in
       the Phase 3 Trials had experienced an eightfold increase
       in the incidence of OKA, that those incidences of OKA
       were severe, that steps taken to address the incidence of
       OKA did not affect the incidence of DKA, that incidences
       of OKA in Phase 3 Trials were difficult to identify, and
       that the incidence of OKA was likely suppressed by the
       clinical setting of the Phase 3 Trials. 74

       Asserting that Lexicon accurately disclosed its trial results,

defendants argue that "the very information that [p]laintiffs claim

was misstated or omitted from communications to investors and [the]

FDA was disclosed clearly and repeatedly .                 . in advance of the

alleged corrective disclosures." 75            Asserting "[p]laintiffs do not

allege that Lexicon possessed internally any data different from

the data they disclosed or that any of the data Lexicon reported

was false," defendants argue that "[p]laintiffs have failed to

state a claim for fraud." 76

       73
            FACAC, Docket Entry No. 27, pp. 47-53 �� 138-152.
       74
            Id. at 47 � 138.
       75
            Defendants' Motion to Dismiss, Docket Entry No. 33, p. 19.
       76
            Id. at 19-20.      See also Defendants'        Reply, Docket Entry
                                                                 (continued ... )
                                         40
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     Citing Rubinstein v. Collins, 20 F.3d 160, 170              (5th Cir.

1994), for holding that "a duty to speak the full truth arises when

a defendant undertakes a duty to say anything," plaintiffs argue

that defendants' statements concerning DKA were misleading because

defendants described the incidence of DKA during the phase 3 tests

as "slight," "manageable," or "low," when in fact there was an

eightfold increase in DKA that was severe, difficult to diagnose,

resistant to management, and likely understated.77          Citing Public

Employees' Retirement System of Mississippi, Puerto Rico Teachers

Retirement System v. Amedisys, Inc., 769 F.3d 313, 323 (5th Cir.

2014), cert. denied, 135 S. Ct. 2892 (2015), for its holding that

"complex . . . data understandable only through expert analysis may

not be readily digestible by the marketplace," plaintiffs argue

that "[d]efendants' simple disclosure of complex raw clinical data

is not sufficient to succeed on a motion to dismiss because that

data has 'little to no probative value in its native state.'" 78

     The FACAC's allegations that defendants committed fraud by

omission by failing to disclose an eightfold increase in the incidence

of DKA that was more severe, difficult to diagnose, resistant to
management and likely understated,79 are based on statements made in



          ••• continued)
     76 (

No. 37, pp. 17-20 (arguing that Lexicon accurately disclosed the
design of and results from its clinical trials).
     77
          Plaintiffs' Opposition, Docket Entry No. 35, pp. 19-20.
     78
          Id. at 22.
     79
          FACAC, Docket Entry No. 127, p. 47   <JI   138.

                                    41
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briefing materials that the FDA provided to the Advisory Committee

in advance of the Advisory Committee Meeting, and at the Advisory

Committee Meeting held on January 17,         2019, 80 i.e.,   long after

defendants made all but one of the statements about the extent and

severity of OKA that the FACAC alleges were misleading.           The only

statement alleged to have been made after the Advisory Committee

Meeting is the statement included in Lexicon's 2018 Annual Report

filed with the SEC on Form 10-K on March 15, 2019. 81          Because the

information that plaintiffs allege defendants failed to disclose

was, in fact, publicly disclosed during the Advisory Committee

Meeting, the failure to disclose that information in Lexicon's 2018

Annual Report filed in March 2019, almost two months after the

Advisory Committee Meeting, could not have made statements about
the extent and severity of OKA contained in Lexicon's 2018 Annual


     80
       Plaintiffs' Opposition, Docket Entry No. 35, pp. 20-21
(citing FACAC, Docket Entry No. 27, pp. 10 1 26, 36 1 105 (quoting
FDA Briefing Document as stating that "sotagliflozin therapy
clearly increases that risk [of OKA], and the risk may be
unpredictable"); 39 1 115 (citing Sanofi meeting presentation as
acknowledging at the meeting that patients "have less early signs
and symptoms to detect emerging OKA"); 40 1 117 (citing FDA
statement that it needed to reformat the raw trial data to uncover
"the hidden trend") and 1 118 (citing FDA statements that incidence
of OKA was likely suppressed in clinical setting); 41 11 119-20
(citing FDA statements that interventions to reduce OKA during
trials failed); 42 1 122 (quoting a Committee Member as stating
that "its not just that there is more OKA; it's the fact that it is
more severe") and 1 123 (quoting a committee member as criticizing
the structure of the trials by stating, "[w]e see only an
instrument that is heavily gamed towards time in the therapeutic
range of the drug")).
     81
          FACAC, Docket Entry No. 27, pp. 51-52 11 148-49.
                                    42
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Report       misleading.             Missing    from   the   FACAC,   however,    are

allegations of facts capable of showing that there was, in fact, an

eightfold increase in OKA that was more severe, difficult to

diagnose, resistant to management and likely understated, or that

when        defendants         made    the     allegedly     misleading   OKA-related

statements information existed that contradicted their statements.



                                 (i)   Plaintiffs' Allegations that Defendants
                                       Failed to Disclose an Eightfold Increase
                                       of OKA Are Not Actionable

       The FACAC alleges that defendants issued press releases that

publicly reported results for the inTandeml trial in September

2016, May 2017, and June 2018; for the inTandem2 trial in December

2016 and June 2018; and for the inTandem3 trial in September 2017, 82

and that defendants disclosed additional information about these

trial results in the Annual Reports that Lexicon filed on Form 10-

Ks for 2016, 2017, and 2018 in March 2017, 2018, and 2019,

respectively; in earnings calls held on August 4, 2016, September

9, 2016, and November 8, 2017; and in presentations at healthcare

conferences held on January 11, 2017, and January 9, 2019.

Although       the      FACAC        alleges    that   defendants'    described     the
incidences of OKA as "slight," "manageable," or "low," when in fact
there was an eightfold increase in OKA that was severe, difficult




       82
            Id. at 29    <JI   87.
                                                43
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to diagnose, resistant to management, and likely understated, 83 the

allegations       in   the   FACAC    and       the   statements   challenged   as

misleading,84 show that defendants disclosed detailed information

about the OKA safety concern and the number of OKA incidences from

which the fold increases of OKA could easily be calculated for each

of the phase 3 trials.          Because the fold increase of OKA could

easily be calculated from the information disclosed, this case is

distinguishable from Amedisys, 769 F.3d at 323, where "the hidden

meaning of the . . . data required expert analysis," and "the data
itself [wa]s only available to a narrow segment of the public," and

the FACAC's allegations that defendants' characterization of the

rate of OKA in those trials as "slight" or "low," are too vague to
satisfy     the   requirements       for    pleading     securities   fraud with
particularity. 85




     83
          Plaintiffs' Opposition, Docket Entry No. 35, p. 20.
     84
       Plaintiffs did not attached copies of Lexicon's allegedly
misleading disclosures to the FACAC, but many of them are before
the court as exhibits to Defendants' Motion to Dismiss. Because
courts may "rely on 'documents incorporated into the complaint by
reference, and matters of which a court may take judicial notice,'"
Dorsey, 540 F.3d at 338 (quoting Tellabs, 127 S. Ct. at 2509), the
court may consider the alleged disclosures for the purpose of
determining their contents but not for proving the. truth of their
contents without converting defendants' motion to dismiss to a
motion for summary judgment. See Lovelace, 78 F.3d at 1018 & n.l.
See also Wehlmann, 737 F. Supp. 2d at 616 (courts may consider "the
full text of documents partially quoted in the complaint").
      The FACAC's allegations regarding defendants' statements that
     85

OKA could be managed are discussed in § II.B.l(a)(5), below.
                                           44
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                             (A)   InTandeml Trials

     The FACAC alleges that on September 9, 2016, Lexicon issued a

Press     Release    announcing    that    "sotagliflozin     demonstrated

compelling, significant and clinically meaningful AlC reduction

with no increase in severe hypoglycemia and a slight risk of DKA. " 86

The FACAC alleges that the September 9, 2016, Press Release also

stated that "[t]he number of patients with OKA events during [the

inTandeml Phase 3 Trial's] 24-week treatment period was O (0.0%),

3 (1.1%), and 8 (3.1%) in the placebo, 200mg and 400mg dose arms[,

respectively]." 87   The FACAC alleges that the incidences of OKA for
the 24-week treatment period of the inTandeml Trial were repeated

in the Annual Report for the Fiscal Year Ended December 31, 2016,

that Lexicon filed with the SEC on Form 10-K in March 2017.88

        The FACAC alleges that in a press release issued on May 11,

2017, defendants reported that

        "the rate of [OKA] during the 28-week extension period
        [of the inTandem phase 3 trial] was slightly higher than
        the rate seen in the initial 24-week treatment period for
        placebo (one patient, 0.4%) and the 200 mg dose arm (6,
        2.5%) and lower for the 400 mg dose arm (3, 1.3%)." The
        press release also disclosed that "[t] he number of
        patients with OKA events during the full 52 weeks of



      FACAC, Docket Entry No. 27, p. 48 � 141. See also September
     86

9, 2016, Press Release, Exhibit 12 to Defendant's Motion to
Dismiss, Docket Entry No. 34-19, p. 2.
      Id. See also September 9, 2016, Press Release, Exhibit 12 to
     87

Defendant's Motion to Dismiss, Docket Entry No. 34-19, p. 2.
     88
       Id. at 49 � 143. See also 2016 Annual Report, Form 10-K, p.
2, Exhibit 3 to Defendant's Motion to Dismiss, Docket Entry No. 34-
3, p. 6.
                                     45
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     treatment was 1 (0.4%), 9 (3.4%), and 11 (4.2%) in the
     placebo, 200 mg and 400 mg dose arms, respectively.n 89

The FACAC alleges that the incidences of OKA for the full 52-week

treatment period of the inTandeml Trial were repeated in the Annual

Report for the Fiscal Year Ended December 31, 2017, that Lexicon

filed with the SEC on Form 10-K in March 2018.90

     Neither Lexicon's press releases nor its Annual Reports stated

the fold increases of OKA incidences in the inTandeml trials.

Defendants argue           without objection from plaintiffs            that

although the fold increase for the 24-week treatment cannot be

calculated because the placebo arm did not experience any OKA

events, the fold increases can easily be calculated for both the

28-week extension and the full 52-week treatment periods based on
the disclosed information, i.e., by dividing the rate of OKA in the

sotagliflozin arms by the rate of OKA in the placebo arms. 91            The
equations for the 28-week extension period are thus:           (1) the rate

of OKA in the 200 mg dose arm (2.5%)          -o-   the rate of OKA in the

placebo arm (0.4%) = 6.25 for the 200 mg dose; and (2) the rate of

OKA in the 400 mg dose arm (1.3%)        rate of OKA in the placebo arm
(0.4%) = 3.25 for the 400 mg dose.       The equations for the full 52-

week treatment period of the inTandeml trial are:           (1) rate of OKA


     89
          Id. at 50 ':!I 145.
      Id. at 51 ':!I 148. See also 2017 Annual Report, Form 10-K,
     90

p. 3, Exhibit 4 to Defendant's Motion to Dismiss, Docket Entry
No. 34-4, p. 6.
      Defendants' Motion to Dismiss, Docket Entry No. 33, p. 15 &
     91

nn. 17-19.
                                    46
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in the 200 mg dose arm (3.4%)             rate of DKA in the placebo arm

(0.4%) = 8.5 for the 200 mg dose; and (2) rate of OKA in the 400 mg

arm (4.2%)    7   rate of DKA in the placebo arm (0.4%) = 10.5 for the

400 mg dose. 92        Because information     needed to    calculate    the

allegedly omitted fold increases for the inTandeml trials was

disclosed, and that information showed fold increases that varied

from a low of 3.25 for the 400 mg dose during the 28-week extension

period, to a high of 10.5 for the 400 mg dose during the full 52-

week treatment period, defendants' alleged failures to disclose an

eightfold increase do not constitute actionable omissions with

respect to the inTandeml trials.          See Gerneth, 2018 WL 935418, at

*6 (holding that allegedly omitted percentages failed to state a

claim because       "[t]he information necessary to derive [those]

percentages is either disclosed or calculable based on [disclosed]

information").



                              (B) InTandem2 Trials

     The FACAC alleges that on December 21, 2016, Lexicon issued a

Press Release stating that "[t]he inTandem2 study demonstrated a

compelling safety and efficacy profile for sotagliflozin in adults

living with type 1 diabetes." 93 The FACAC also alleges the December


      See id. ( "The publicly-released data from inTandeml showed
     92

an 8.5 to 10.5-fold increase in OKA over placebo.").
     93
          Id. at 49 � 142.   See also December 21, 2016,. Press Release,
                                                          (continued...)
                                     47
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21, 2016, Press Release stated that "[t]he number of patients with

OKA events during the 24-week treatment period was none (0.0%), one

(0.4%), and three (1.1%) in the placebo, 200mg and 400mg dose arms

respectively." 94      The FACAC alleges that the incidences of OKA in

the inTandem2 Trial were repeated in the Annual Report for the

Fiscal Year Ended December 31, 2016, that Lexicon filed with the

SEC on Form 10-K in March 2017. 95          The FACAC alleges that the

incidences of OKA for the full 52-week treatment period of the

inTandem2 Trial were reported in the Annual Report for the Fiscal

Year Ended December 31, 2017, that Lexicon filed with the SEC on

Form 10-K in March 2018. 96      The 2017 Annual Report stated "[t]he

number of patients with positively adjudicated OKA events during

the full 52-week treatment period was O           (0.0%), 6 (2.3%) and 9

(3.4%) in the placebo, 200mg and 400mg dose arms, respectively." 97

Defendants assert without objection from plaintiffs that because

there were no incidences of OKA in the placebo arm of the inTandem2


       ( •••continued)
     93

p. 1, Exhibit 13 to Defendant's Motion to Dismiss, Docket Entry
No. 34-20, p. 2.
      Id. See also December 21, 2016, Press Release, p. 2, Exhibit
     94

13 to Defendant's Motion to Dismiss, Docket Entry No. 34-20, p. 3.
      Id. at 49 ':II 143. See also 2016 Annual Report, Form 10-K,
     95

p.4, Exhibit 3 to Defendant's Motion to Dismiss, Docket Entry
No. 34-3, p. 7.
     96   Id. at 51 ':II 148.
      2017 Annual Report, Form 10-K, p. 3, Exhibit 4 to Defendant's
     97

Motion to Dismiss, Docket Entry No. 34-4, p. 6.
                                     48
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trials for either the 24- or 52-week treatment periods, calculating

fold increases for those trials is not possible. 98              Therefore,

defendants' alleged failures to disclose an eightfold increase in

OKA incidences do not constitute actionable omissions with respect

to the inTandem2 trials.      See Gerneth, 2018 WL 935418, at *6.



                             (C)   InTandem3 Trials

     The FACAC alleges that on September 13, 2017,

     Lexicon issued a Press Release disclosing results from
     the inTandem3 trial . . . stat[ing] that "Sotagliflozin
     demonstrated a generally well tolerated safety profile
     during the 24-week treatment period," and that "[t]here
     was a higher rate of OKA during the 24-week treatment for
     sotagliflozin (3.0%) than placebo (0.6%)."99

The FACAC also alleges that OKA incidences in the 24-week treatment

period of the inTandem3 Trial were repeated in the Annual Reports

for the Fiscal Years ended December 31, 2017 and 2018 that Lexicon

filed with the SEC on Form 10-Ks in March of 2018 and 2019. 100



      Defendants' Motion to Dismiss, Docket Entry No. 33, p. 15
     98

n. 19 ("Because the incidence of OKA in the placebo group was zero,
a fold-increase cannot be calculated for this data.").
     99
          FACAC, Docket Entry No. 27, p. 50    <:II   146.
     100 r
        d. at 51-52 <:IT 148. See also 2017 Annual Report, Form 10-K,
p. 4, Exhibit 4 to Defendant's Motion to Dismiss, Docket Entry
No. 34-4, p. 7 ("The number of patients with positively adjudicated
OKA events during the 24-week treatment period was 4 (0.6%) and 21
(3.0%) in the placebo and 400mg dose arms, respectively. Results
from the inTandem3 trial were published in the New England Journal
of Medicine in September 2017."); 2018 Annual Report, Form 10-K,
p. 7, Exhibit 1 to Plaintiffs' Opposition, Docket Entry No. 36-1,
p. 8 (same as from 2017 Form 10-K).

                                     49
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Although neither the       September 13,     2017,   Press   Release,    nor

Lexicon's 2017 or 2018 Annual Reports disclosed a fold increase for

in OKA incidences experienced during the inTandem3 trials, those

increases are easily calculated from the information disclosed by

dividing the rate of OKA in the sotagliflozin arm (3.0%), by the

rate of OKA in the placebo arm            (0. 6%) = 5. 101      Because the

information disclosed from the inTandem3 trials showed a five fold

increase in OKA over placebo,         defendants' alleged failures to

disclose     an   eightfold increase do      not   constitute    actionable

omissions with respect to the inTandem3 trials.



                        (ii) Plaintiffs' Allegations that Defendants
                             Failed to Disclose the Severity and
                             Difficulty to Identify and Manage OKA Are
                             Not Actionable

     Asserting that "[d]efendants also misrepresented the results

of the Phase 3 Trials by not informing investors of the spike in

severe OKA that set in without usual warning signs and was not
affected by [d]efendants' risk management protocols, " 102 plaintiffs

argue that "[d]efendants statements concerning OKA were plainly

misleading." 103   The OKA-related information that plaintiffs allege



       oefendants' Motion to Dismiss, Docket Entry No. 33, p. 15 &
     101

n. 17. Unlike the inTandem 1 and 2 trials, the inTandem3 trials
did not have a 200 mg dose arm.
     102
           Plaintiffs' Opposition, Docket Entry No. 35, p. 19.
     103
           rd. at 20.
                                     50
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defendants misleadingly failed to disclose derives from briefing

materials that the FDA provided to the Advisory Committee and on

comments made at the Advisory Committee Meeting held on January 17,

2019.         For example, plaintiffs cite FACAC ! 26 which alleges that

     [a]t the Committee Meeting, on January 17, 2019, the FDA
     bluntly told the Committee that "sotagliflozin was
     associated with an approximately eightfold increase in
     OKA risk versus placebo," which was likely understated
     because "in the clinical trial setting, patients receive
     intensive clinical monitoring." See Comm. Tr. 144:3-14.
     The FDA also called out the misleading endpoint used by
     Defendants in the Phase 3 Trials, telling the Advisory
     Committee that "[s]ponsor defined net benefit [i.e.,
     composite endpoint] masked increased risk in OKA in
     sotagliflozin groups." Id. 126:2-7. 104

Plaintiffs also argue that

     Defendant Lapuerta . . . expressly misled investors by
     advising to look beyond the incidence of OKA by putting
     that incidence into "context," when he should have
     advised investors that the incidence showed an increase
     in severe OKA episodes that were difficult to diagnose
     and manage.

             Similarly,     [d]efendants'      statements     about
        sotagliflozin    being   "well    tolerated"    and   "most
        important[ly]                there     was    very   little
        discontinuation," gave investors the impression that the
        trials showed that sotagliflozin was safe and effective
        when the FDA and Committee's statements show that the
        opposite was true.     See ! 105 ([quoting FDA briefing
        materials as stating that] "sotagliflozin therapy clearly
        increases that risk [of OKA], and the risk may be
        unpredictable");    !   115    ([citing    Sanofi   meeting
        presentation as stating that] "patients 'have less early
        signs and symptoms to detect emerging OKA'"); ! 118
        ([citing FDA statements that] OKA [was] likely suppressed
        in clinical setting); !! 119-20 ([citing FDA statements
        that] interventions to reduce OKA during trials failed);
        ! 122 ([quoting a Committee Member as stating that] "its


        104
              FACAC, Docket Entry No. 27, p. 10 ! 26.

                                      51
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     not just that there is more OKA; it's the fact that it is
     more severe"). The FDA noted that it needed to reformat
     the raw trial data to uncover the "hidden trend" of OKA
     increases. � 117. [One] Committee [Member] also said
     that "[w]e only see an instrument that is heavily gamed
     towards time in the therapeutic range of the drug."� 123
     (emphasis added).     Finally, the FDA and Committee's
     hostile reaction to Phase 3 Trial Data underscores that
     [d]efendants' positive statements about that data were
     false and misleading. 105

     Missing from the FACAC,              however,    are allegations of facts

showing when, where, or how information about the severity of the

incidences of OKA that occurred during the phase 3 trials, or the

difficulty in identifying or managing those incidences became known

or available to the defendants.                 For example, the FACAC does not

allege that the allegedly omitted information was contained in

undisclosed internal analyses or communications that contradicted

the defendants' public statements. Also missing are allegations of

fact showing that information contradicting the defendants' OKA­

related statements was available to the defendants when they made

the statements alleged to be misleading, i.e., at any time before

the Advisory Committee Meeting. Plaintiffs' assertion that the FDA

"needed to reformat the raw trial data to uncover the                   'hidden

trend'      of   OKA   increases, " 106     undermines    any   inference   that

defendants fraudulently failed to disclose information that was



     105
        Plaintiffs' Opposition, Docket Entry No. 35, pp. 20-21
 (citing FACAC, Docket Entry No. 27, pp. 36 � 105, 39 � 115, 40
�1 117-18, 41 11 119-20, 42 11 122-23).
     106
           Id. at 21 (citing FACAC, Docket Entry No. 27, p. 40 � 117).
                                           52
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available when they made the allegedly misleading statements.

These allegations also bolster defendants' contention that the

Advisory       Committee's    "discussion    centered    around     'varying

interpretations' of clinical data, a risk that Lexicon had warned

its investors might prevent regulatory approval. 11107

     Nor does the FACAC contain any allegations of fact showing

that defendants created a duty to disclose information about the

severity or difficulty to identify or manage the incidences of DKA

that occurred during the phase 3 trials by commenting or suggesting

that incidences of DKA were not severe,             or not difficult to

identify or manage.       To the contrary, virtually every disclosure

alleged to be misleading for which the entire text has been

provided to the court addresses the significance the risk of DKA

poses to Tld patients.        For example, the September 9, 2016, press

release and Lexicon's 2016 Annual Report filed on Form 10-K in

March of 2017 both state that DKA was a primary safety concern for

Tld patients.108     Moreover, the FACAC alleges that DKA is a serious,

life-threatening condition, 109 that the increased risk of DKA caused



     107
           Defendants' Motion to Dismiss, Docket Entry No. 33, p. 16.

       See September 9, 2016, Press Release, p. 2, Exhibit 12 to
     108

Defendants' Motion to Dismiss, Docket Entry No. 34-19, p. 3 ("Two
primary safety concerns for patients with type 1 diabetes are
severe hypoglycemia and diabetic ketoacidosis ( DKA).") ; 2016 Annual
Report, Form 10-K, p. 3, Exhibit 3 to Defendants' Motion to
Dismiss, Docket Entry No. 34-3, p. 6 ("Two primary �afety concerns
for patients with type 1 diabetes are severe hypoglycemia and
diabetic ketoacidosis, or DKA.").
     109
           FACAC, Docket Entry No. 27, pp. 3 ':II 7, and 22 ':II 68.
                                      53
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by SGLT drugs like sotagliflozin was well known before the start of

the phase 3 trials both from sotagliflozin's phase 2 trials, 110 and

from a      labeling        requirement that the                 FDA    imposed on          a     SGLT

medication      approved            shortly      before       the   phase          3    trials    for

sotagliflozin began.111                 These allegations contained in the FACAC

undermine      the      plausibility            of      the    plaintiffs'             claim     that

defendants' reports of results from the phase 3 trials mislead

investors to believe that an increased risk of OKA would not be

important to the FDA.

     The plausibility of the FACAC's allegations that defendants'

failure to disclose that the incidences of OKA that occurred during

the phase 3 trials were severe and difficult to identify and

manage, misled investors is also undermined by the fact that the

significance       the            OKA   risk    would     have      for      FDA       approval     of

sotagliflozin        was          raised   by    an     analyst        and    acknowledged          by

defendants during the August 4,                       2016,      earnings call in which

plaintiffs allege Lapuerta misleadingly minimized the OKA risk.

During that call an analyst asked, "there are approved SGLT2's on

the market that have had some OKA.                        What do you think of as an

acceptable rate in the context of Ale benefit ?" 112                                   In pertinent


       Id. at 24 <JI 74 ("Based on the FDA's statements of concern
     110

about the incidence of OKA in SGLT-2 inhibitors, [d]efendants knew
that significant incidences of OKA could cause the FDA to not
approve the drug because OKA was so substantial a health risk for
diabetes sufferers.").
     111
           Id. at 2 3   <JI <JI   7 0-71 & nn. 18-19 .
     112
           August 4, 2016, Earnings Call Transcript, p. 8, Exhibit 16
                                                       (continued...)

                                                 54
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part Lapuerta responded by acknowledging that OKA is common in Tld,

and that he expected to see it in any Tld program.              He also said,

     [w]e remain blinded to our results. We do believe that
     some therapies have increased risk of OKA. One of the
     therapies that have an increased risk of OKA but is very
     acceptable to patients is the use of pumps.         Pumps
     malfunction, insulin pumps. As so we do think that there
     is a window and that there is an acceptable range that
     you could have some OKA but still have a proposition
     that's very favorable to patients. And I think one of
     the most important propositions that we're looking to is
     to see whether or not we can improve time and range,
     which for patients would mean ultimately a lower risk of
     hypoglycemia, and that's a big issue to patients. 113

When pressed about what he would consider to be an acceptable range

of OKA, Lapuerta stated:

     I'd rather not comment on the range because I think it
     depends on the context. And that's one of the things I
     encourage you to look at not just the OKA, but take the
     OKA into context with other events like Ale reduction and
     incidence of severe hypoglycemia, and mild-to-moderate
     hypoglycemia. All of these come together, and I think
     because of that, it's difficult to provide an exact range
     for one event, when there are three others that need to
     be taken into account.114

Plaintiffs allege that Lapuerta's statement was misleading because

"it suggested to investors that the incidence of OKA was not

important, when, in fact, the eightfold increase in incidences of

OKA during the Phase 3 Trials would matter most to the Advisory

Committee and the FDA." 115

       2
     11 ( ••• continued)
to Defendants' Motion to Dismiss, Docket Entry No. 34-23, p. 9.
       3
     11 Id.   at 9, Docket Entry No. 34-23, p. 10.


     115 FACAC,   Docket Entry No. 27,      pp. 47-48    ':IT   140. See also
                                                                (continued...)

                                     55
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     Lapuerta's comments during the August 4, 2016, earnings call

did not minimize the importance that an increased risk of OKA posed

to the FDA approval process but, instead, encouraged listeners to

consider those risks together with other measures including the

reduction of Ale and the incidences of severe hypoglycemia.

Because the FACAC alleges that "[w]hether a drug is shown to reduce

HbAlc levels is a key factor in whether the drug will be approved

to treat diabetes,"116 and recognizes hypoglycemia as one of two

life-threatening conditions for diabetics - the other being DKA,117

and because reduction in Ale was the primary endpoint of the

inTandeml and inTandem2 trials,118 and the incidences of severe

hypoglycemia      and   OKA   were   accounted     for       in   the   composite


           continued)
     115( •••

Plaintiffs' Opposition, Docket Entry No. 35, p. 20 (asserting that
Lapuerta "misled investors by advising to look beyond the incidence
of OKA by putting that incidence into 'context,' when he should
have advised investors that the incidence showed an increase in
severe OKA episodes that were difficult to diagnose and manage").
     116
           FACAC, Docket Entry No. 27, p. 21     <I[   66.

       Id. at 7 <JI 17 (recognizing hypoglycemia as "a different
     117

life-threatening condition for diabetics that is caused by low
blood sugar"). See also September 9, 2016, Press Release, p. 2,
Exhibit 12 to Defendants' Motion to Dismiss, Docket Entry No. 34-
19, p. 3 ("Two primary safety concerns for patients with type 1
diabetes are severe hypoglycemia and diabetic ketoacidosis
(OKA)."); 2016 Annual Report, Form 10-K, p. 3, Exhibit 3 to
Defendants' Motion to Dismiss, Docket Entry No. 34-3, p. 6 ("Two
primary safety concerns for patients with type 1 diabetes are
severe hypoglycemia and diabetic ketoacidosis, or OKA.").
       Id. at 25 <I[ 75 ("Defendants set the 'primary endpoint' of
     118

the inTandeml and inTandem2 trials as the 'change from baseline in
HbAlc by week 24 of the trial.'").

                                      56
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endpoint, 119 Lapuerta's comments were not misleading but, instead,

reasonably consistent with the FACAC's allegations regarding both

the design of the phase 3 trials and the available data.                   See

Abrams v. Baker Hughes, Inc., 292 F.3d 424, 433 (5th Cir. 2002)

(quoting Novak v.         Kasaks,    216 F.3d 300,    309   (2d Cir.),   cert.

denied, 121 S. Ct. 567 (2000) ("As long as public statements are

reasonably consistent with available data, corporate officials need

not present an overly gloomy or cautious picture of the company's

current performance or future prospects.").            Moreover, plaintiffs

do not argue, and the FACAC does not allege, that on August 4,

2016, when Lapuerta made the allegedly misleading comment he could

possibly have known either that the phase 3 trials would result in

an eightfold increase in incidences of OKA, that the incidences of

OKA would be severe, difficult to diagnose and manage, or that the

"eightfold increase in incidences of OKA during the Phase 3 Trials

would matter most to the Advisory Committee and the FDA."120

Accordingly, the court concludes that Lapuerta's comments during

the   August        4,   2016,      earnings   call   are   not   actionable

misrepresentations.




        9
      11 Id.
           at 5 <JI 10 (recognizing that the "'composite endpoint' .
  . measured 'the proportion of patients who achieved an Ale of
less than 7% without an episode of severe hypoglycemia or OKA'").
      120
            Id. at 48 <JI 140.

                                         57
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    Because the FACAC fails to allege facts showing when, where,

or how information became available regarding the severity of the

DKA incidences that occurred during the phase 3 trials, or how

difficult those incidences were to diagnose or manage, the FACAC

does not contain allegations of fact capable of establishing that

when defendants made their allegedly misleading statements about

the incidences of DKA, defendants failed to disclose any existing

and available contradictory information.        The FACAC's allegations

that defendants' DKA-related statements were misleading because
they failed to disclose that incidences of DKA were severe and

difficult to diagnose or manage are not sufficiently particularized

to state claims for securities fraud by omission.            See Gerneth,

2018 WL 935418, at *7 ("At the very least,          [the plaintiff] must

plead that the information did exist to allege plausibly that

[d]efendants should have disclosed it.") (citing Gross, 93 F.3d at

995 (rejecting argument that press release was misleading based on
reference to information contained in board minutes created after

the press release was issued)).          Alternatively, for the reasons

stated in§ II.B.l(b), below, the court concludes that defendants'

DKA-related statements are not actionable because plaintiffs have
failed to plead facts capable of establishing a strong inference
that defendants made any of the alleged statements with scienter.




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                   (3)    Plaintiffs'   Allegations  that   Defendants
                          Misrepresented the Benefits of Sotagliflozin
                          Are Not Actionable

     The FACAC alleges that defendants misrepresented the benefits

of sotagliflozin on eight different occasions,                      i.e.,    in four

different Form 10-Ks filed with the SEC in March of 2016, 2017,

2018, and 2019, and in four Press Releases issued on September 9,

2016, December 21, 2016, and June 23 and 24, 2018.121                       The FACAC

does not allege that defendants made any false statements about the

design or results of the phase 3 trials but, instead, alleges that

     [d]efendants misrepresented the benefits of sotagliflozin
     throughout the Class Period by (i) structuring the Phase
     3 Trials to misleadingly emphasize reductions in HbAlC
     levels and downplay incidences of DKA, (ii) touting
     decreases in HbAlc levels knowing that those levels would
     not necessarily be meaningful for patients with starting
     HbAlc levels over 8%, (iii) touting weight reductions
     without disclosing that those reductions were under 5% of
     the patient's body weight and thus not clinically
     significant, and (iv) downplaying the incidences of
     DKA.122

The FACAC alleges that

     [t]hese disclosures were materially misleading because
     they failed to disclose that the mean decreases in HbAlc
     were not meaningful and thus did not outweigh the serious
     risk of severe DKA, the incidence of which increased
     eightfold over placebo in the Phase 3 trials.       These
     statements were also false and misleading because
     [d]efendants failed to disclose that the composite
     endpoint emphasized the modest benefits of sotagliflozin
     while concealing the risks of DKA.123


     121   Id. at 56-61   <JI<JI   162-73.
       Id. at 61 <JI 173.
     122
                                      See also id. at 56-57   <JI   162 (virtually
identical allegations).
     123   Id. at 59-61   <JI<JI   168-71 (the quoted sentence is repeated in
                                                               (continued...)
                                             59
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     Defendants      argue   that   plaintiffs   allegations     that   they

misrepresented the benefits of sotagliflozin should be dismissed

because       "Lexicon   disclosed     accurately     the    benefits        of

sotagliflozin, including Ale reduction, weight loss, and the effect

of hypoglycemia." 124    Defendants also argue that the statements the

FACAC challenges reflect only inactionable "disagree[ment] about

how to interpret the results." 125

     Plaintiffs respond that "[d]efendants misleadingly touted

trial results showing decreases in Ale, incidence of hypoglycemia

and patient weight,       even though [d]efendants knew that those
decreases were not necessarily meaningful." 126        Citing McNamara v.

Bre-X Minerals Ltd, 197 F. Supp. 2d 622, 686-87 (E.D. Tex. 2001),

plaintiffs argue that "[i]n touting the positive results of Phase

3 Trials, [d]efendants undertook an obligation to fully disclose

all facts necessary to make their statements not misleading." 127

Citing Schueneman v. Arena Pharmaceuticals, Inc., 840 F.3d 698, 709


     123 ( •••
           continued)
each of the cited paragraphs).
     124
           Defendants' Motion to Dismiss, Docket Entry. No. 33, p. 21.
     125
       Id.   See also Defendants' Reply, Docket Entry No. 37,
pp. 17-22 (arguing that plaintiffs' allegations defendants
misrepresented the benefits of sotagliflozin should be dismissed
because plaintiffs have conceded that Lexicon accurately disclosed
the design and results of its clinical trials).
     126
       Plaintiffs' Opposition, Docket Entry No. 35, p. 22 (citing
FACAC, Docket Entry No. 27, pp. 56-61 ii 162-73).
      2
     1 7Id.


                                     60
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 (9th Cir. 2016), Sanders v. AVEO Pharmaceuticals, Inc., No. 13-

11157-DJC, 2015 WL 1276824 (D. Mass. March 20, 2015), and Gerneth,

2018 WL 935418, plaintiffs argue that "differences of opinion need

to be disclosed." 128

           The FACAC's allegations that defendants misrepresented the

benefits of sotagliflozin by "tout[ing] trial results showing

decreases in Ale, incidence of hypoglycemia and patient weight,

even though                [d]efendants knew          that    those      decreases    were   not

necessarily meaningful" or "clinically significant, " 129 are based on

comments and observations made at the                                 FDA Advisory Committee

Meeting held on January 17, 2019 . 13 °                    For example, plaintiffs allege

that more than one Advisory Committee "member[]                                 questioned the

clinical relevance of the modest reduction in hemoglobin Ale

 (HcAlc) shown with sotagliflozin, " 131 and that "

           another [c]ommittee member noted, "[a]lthough some
           individuals may have had astounding weight losses, the
           average change would not let this drug be approvable for
           a reduction of body weight because it's not a 5%
           reduction in weight, and that decrease is not necessarily
           considered a strong benefit." 132


           128
                    Id. at 23.

           Id. at 22
           129
                                    (citing FACAC, Docket Entry No. 27, pp. 56-61
<]I<]I 162-73).

             Id. at 23-24 (citing FACAC, Docket Entry No. 27, pp. 38-40
           130

<JI<JI   112, 116-17, and 41-42 <]{<JI 120-24).
                1
           13       FACAC, Docket Entry No. 27, p. 38           <JI   112.
           132
                    Id.   at   42    <JI   124   (citing    Advisory         Committee Meeting
                                                                                 (continued...)
                                                    61
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The FACAC also alleges that

        the FDA highlighted that while Sanofi had focused on the
        inTandeml and inTandem2 studies to show reductions in
        incidences of severe hypoglycemia, "the trend went in the
        opposite direction for [ inTandem 3] . " .       In sum,
        "there was no consistent trend for hypoq1ycemia across
        the three phase 3 studies. 133

        Missing from the FACAC, however, are any allegations of fact

capable of showing that defendants failed to fully disclose the

primary endpoints, inaccurately reported that the inTandeml and

inTandem2 trials met their primary endpoints for Ale reduction, or

failed to accurately report incidences of hypoglycemia and weight

loss.         Nor   are     there   any    allegations      of     fact   showing    that

defendants withheld internal information about the study design,

the trial results or interpretations, or disagreements with the FDA

or anyone else about the study design, the trial results, or the

interpretation of those results.                      In short, the FACAC does not

contain any allegations of fact capable of showing that when

defendants made the statements about Ale reduction, incidences of

hypoglycemia,         and    weight       loss    that    the     FACAC   alleges    were

misleading,         defendants      failed       to    disclose    any    existing    and

available contradictory information.



           continued)
        132 ( •••

Transcript, p. 307:4-16, Exhibit 8 to                       Defendants'      Motion   to
Dismiss, Docket Entry No. 34-15, p. 308).

       Id. at 41 ':I[ 120 (citing Advisory Committee Meeting
        133

Transcript, p. 170:17-22, Exhibit 8 to Defendants' Motion to
Dismiss, Docket Entry No. 34-15, p. 171).

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       Plaintiffs' contention that the defendants misrepresented the

benefits of sotagliflozin because the positive trial results they

reported with respect to Ale reduction, hypoglycemia, and weight

loss     were        not    necessarily     meaningful         is    countered        both       by

contradictory          comments      made   by    members       of    the     FDA     Advisory

Committee        at        the   Advisory   Committee    Meeting, 134         and         by    the

Committee's tie vote of "'eight to eight' on the question of

whether the overall benefits of sotagliflozin outweighed the risks

to support approval." 135            Moreover, plaintiffs' have failed either

to allege any facts or to cite any authority in support of their

contention that defendants had a duty to disclose that the trial

results        were        "not    necessarily      meaningful"          or     "clinically

significant" as those terms generally refer to subjective concepts

not facts. See Lehmann v. Ohr Pharmaceutical Inc., No. 18-Civ-1284

(LAP),        2019    WL     4572765,   *   4     (S.D.N.Y.         September       20,        2019)

("'[C]linically meaningful' is legally meaningless.                             Even if the

term did have content, Plaintiffs have certainly not established

that their definition is the definition of the term.

Additionally, the term, as a matter of law, is not a statement of


       See �, Advisory Committee Meeting Transcript, pp. 299:21-
       134

300:20 (acknowledging statistical improvements and benefit in
glycemic control and weight loss), and 302:1-5 ("I think that what
we can say was that while there was significant decrease in Ale,
there was not any significant increase in hypoglycemia    . . that
is a positive advantage"), Exhibit 8 to Defendants' Motion to
Dismiss, Docket Entry No. 34-15, pp. 300-01, 302-03).
       135
             FACAC, Docket Entry No. 27, p. 43           <JI   126.

                                             63
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fact, but is instead,            puffery, much the term "success."

Meaningfulness,        especially in the medical context,                   is a more

subjective concept than is the presentation of raw data.").

       While McNamara, 197 F. Supp. 2d at 686-87, stands for the

principle that defendants were required to disclose all facts

necessary to make their statements not misleading,                         the FACAC's

allegations that the defendants' statements about Ale reduction,

incidences      of    hypoglycemia,       and    weight      loss   were    actionably

misleading represent an attack on the underlying methodology of the

trials and the conclusions to be drawn from the results, not on the

material falsity of defendants' statements about the benefits of

sotagliflozin with respect to Ale reduction,                        hypoglycemia,    or

weight loss.         See Abrams, 292 F.3d at 433 (quoting Novak, 216 F.3d

at    309    ("As    long   as   public statements           are    consistent     with

reasonably available data, corporate officials need not present an

overly      gloomy    or    cautious     picture       of   the   company's    current

performance or future prospects.").                   See also Nathenson, 267 F.3d

at 420 (the securities laws do not require a company to disclose

alleged inadequacies or shortcomings of clinical trials, as long as

the trials are accurately described and the data is not falsified).

The    cases   plaintiffs        cite    in     support     of    their   theory   that
defendants' statements regarding the benefits of sotagliflozin with
respect to Ale reduction,               hypoglycemia,       and weight loss were
actionably      misleading        bolster       the     court's     conclusion     that
plaintiffs have failed to allege actionable omissions with respect

to these issues.

                                           64
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     In   Schueneman   the    defendant,    who    like   Lexicon    was    a

bio-pharmaceutical company testing and developing new drugs, told

investors that based on testing data including "all the animal

studies that have been completed," the company was "confident" the

drug would be approved.      840 F.3d at 702.     Plaintiffs alleged that

the company made that statement despite knowing and reporting to

the FDA the result of an animal study that indicated the drug was

causing tumors and various types of cancer in rats.            Id. at 701.

The Ninth Circuit held that while the company "may not have had a

duty to disclose the Rat Study had they not been representing that

animal studies supported [the drug]'s safety and therefore its

likelihood of being approved .           [but that] once [the company]

chose to tout [the drug]'s likely approval by referencing allegedly

positive animal and preclinical studies, they were bound to do so

in a manner that wouldn't mislead investors." Id. at 707-708.

Unlike Schueneman in which the plaintiffs alleged that the company

made an affirmative statement that was misleading without the

alleged omission, i.e., that animal studies made the company
confident the drug would be approved, but failed to disclose the

contradictory fact that an animal study showed the drug caused

cancer in rats, the FACAC does not allege that Lexicon made any
affirmative statements about Ale reduction, hypoglycemia, or weight
loss but failed to disclose available, but contradictory facts.


                                    65
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     Sanders, 2015 Wl 1276824, at *6, similarly demonstrates that

courts   have   held   statements   about   a   drug's   efficacy    to     be

actionable when those statements are made in support of assertions

that regulatory approval is "a when not if proposition," and the

defendants fail to disclose subjective scientific disagreement over

the drug's efficacy.      Although the FACAC alleges that the FDA

raised concerns with defendants about the utility of the composite

endpoint, for the reasons stated in § II.B.1 (a) (1), above, the

court has already concluded that the FACAC fails to allege facts

that are sufficiently particularized to make the               failure to

disclose an FDA concern about the composite endpoint actionable.

Moreover, for the reasons stated in § II.B.1 (a) (2), above, the

court has already concluded that the FACAC fails to allege facts

that are sufficiently particularized to make defendants' alleged

OKA-related misrepresentations actionable. The FACAC's allegations

regarding defendants' allegedly misleading statements about the

benefits of sotagliflozin are comparable to the FACAC's allegations

regarding FDA concern about the composite endpoint and defendants'

statements about incidences of OKA that occurred during the phase

3 trials that the court has already found to be insufficient to

state actionable omissions.
     In each of the cases on which plaintiffs rely the allegations
were found sufficient to allege actionable omissions                because
plaintiffs pleaded facts showing that when the defendants made


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their     allegedly       misleading    statements,     those   statements   were

directly contradicted by available but undisclosed information.

Because the FACAC contains no comparable allegations of fact with

respect to defendants' allegedly misleading statements about Ale

reduction, hypoglycemia, and weight loss, the court concludes that

plaintiffs have failed to plead facts sufficient to show that the

alleged statements were misleading when the defendants made them.



                        (4)   Plaintiffs' Allegations that Defendants Failed
                              to Fully Disclose that Time-in-Range Was Not a
                              Validated Endpoint Are Not Actionable

        The FACAC alleges that the defendants misleadingly emphasized

how sotagliflozin performed in relation to certain "glucose-based

endpoints,"          including    time-in-range   and   glycemic   variability,

without disclosing that these are not validated endpoints on eight

different occasions, i.e.,              in Lexicon's 2015 and 2017 Annual

Reports filed on Form 10-Ks with the SEC in March of 2016 and 2018;

two earnings calls held on August 4, 2016, and November 8, 2017;

two press releases issued on September 8, 2017, and June 23, 2018,

and at two healthcare conferences held on September 5, 2018, and

January 9, 2019. 136          The FACAC alleges that

        Defendants touted Sotagliflozin's performance in Phase 2
        and Phase 3 clinical trials by emphasizing how the drug
        performed in relation to        certain   "glucose-based
        endpoints,"   including   Time-in-Range   and   Glycemic
        Variability. As the FDA wrote in its briefing materials,

        136
              Id. at 61-63 <JI<JI 174-82.

                                            67
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     however, " [w] hile these endpoints, [i.e., Time-in-Range
     and Glycemic Variability] are valued by patients and may
     relate to at least short-term improvements in quality of
     life and treatment satisfaction, these do not have an
     established relationship with long-term macrovascular and
     microvascular complications and have not been validated
     for use in regulatory decision making for antidiabetic
     drugs." In other words, sotagliflozin's performance with
     regard to Time-in-Range and Glycemic Variability was
     entirely irrelevant as to whether the Advisory Committee
     recommended that the FDA approve sotagliflozin or whether
     the FDA ultimately approved the drug.137

The FACAC alleges that defendants' statements about time-in-range

and glycemic variability

     referenced in �� 174-181 were materially false and
     misleading because       . Defendants failed to disclose
     that those measures did not have an established
     relationship    with    long-term    macrovascular    and
     microvascular complications and were not [] validated for
     use in regulatory decision making, and thus would have no
     impact on whether the Advisory Committee recommended
     sotagliflozin or the FDA ultimately approved the
     drug. ,, ) . us

     Defendants      argue    that    the    FACAC's    allegations     they

misrepresented      the    validity   of    time-in-range    and   glycemic

variability should be dismissed because "Lexicon told investors

this precise information in their second quarter 2017 earnings call

on August 1, 2017. 11139



     137
           Id. at 61-62 � 174.
       8
     13    Id. at 63 � 182.
     139
       Defendants' Motion to Dismiss, Docket Entry No. 33, p. 24.
See also Defendants' Reply, Docket Entry No. 37, p. 20.

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     Plaintiffs respond that

     [d]efendants told investors that Glycemic Variability
     benefitted patients. i 176. They also told investors
     that the inTandem2 trial showed "improvements in certain
     elements of glycemic control" including "glycemic
     variability." i 180. But [d]efendants never disclosed
     that Glycemic Variability was entirely irrelevant to the
     Committee and the FDA's consideration of sotagliflozin.
     Since   [d]efendants never disclosed that Glycemic
     Variability was not a validated endpoint, the Motion as
     to these misstatements should be denied.140

     Defendants reliance on the text of Lexicon's second quarter
earnings call on August 1, 2017, to counter the FACAC's allegations

that their statements about time-in-range and glycemic variability

were misleading by showing that Lexicon did, in fact, disclose that

these were not validated endpoints is misplaced because the FACAC

neither references nor incorporates the earnings call held on
August 1, 2017.    Because defendants do not argue, and the court

does not find, that the text of the August 1, 2017, earnings call

is subject to judicial notice, the court cannot consider the text

of that call in ruling of the pending motion to dismiss without

converting the motion to one for summary judgment. See Dorsey, 540
F.3d at 338 (quoting Tellabs, 127 S. Ct. at 2509) (courts may "rely

on 'documents incorporated into the complaint by reference, and

matters of which a court may take judicial notice'").             See also
Wehlmann, 737 F. Supp. 2d at 616 (courts may consider "the full
text of documents partially quoted in the complaint").


       Plaintiffs' Opposition, Docket Entry No. 35, p. 24 (citing
     140

FACAC, Docket Entry No. 27, pp. 56-61 ii 174-81).
                                    69
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      The      FACAC   acknowledges   that   Lexicon      disclosed   primary,

secondary, and composite endpoints of the phase 3 trials, and that

"[s]otagliflozin .         . achieved the endpoints [d]efendants .

designed. " 141   The FACAC does not allege that defendants identified

time-in-range or glycemic variability as endpoints for the phase 3

studies, stated that time-in-range or glycemic variability were

validated for regulatory decision making, or that the defendants'

statements about time-in-range or glycemic variability were made in

support of assertions that the Advisory Committee would recommend

sotagliflozin for approval or that the FDA would approve the NOA

for sotagliflozin.        Nor does the FACAC contain any allegations of

fact showing that when defendants made statements about time-in­

range or glycemic variability alleged to be misleading, they failed

to disclose existing and available            contradictory      information,

including�, that sotagliflozin's performance with respect to

these measures would be entirely irrelevant to either the Advisory

Committee or the FDA.        Moreover, plaintiffs' contention that the

defendants' statements about time-in-range and glycemic variability

were misleading because they failed to disclose that these measures

were irrelevant to the Advisory Committee and to the                   FDA is

contradicted by the transcript of the Advisory Committee Meeting. 142


      141
            FACAC, Docket Entry No. 27, p. 75   <:I[   218.

       Because the transcript of the Advisory Committee Meeting is
      142

partially quoted by and incorporated into the FACAC, the court may
                                                    (continued... )

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     The transcript of the Advisory Committee meeting shows that

time-in-range and glycemic variability were not only addressed by

committee members and public speakers,          but also discussed and

considered       by   committee   members    while     deciding     whether

sotagliflozin's benefits outweighed its          risks.      For   example,

following the formal presentations made by the sponsor, Sanofi, and

by the FDA, one committee member stated that she wanted

     to congratulate both the agency and the sponsor for the
     robust sets of date . . . presented. It's encouraging to
     see the use [of] real-world evidence as well as other
     measures beyond AlC, so thank you for that.

          I was particularly interested in the time in range.
     While some of us are skeptical about the benefit of
     measuring Ale or what the clinical relevance is, even
     though we understand it, I was wondering if you took any
     further analysis of the time in range data to look to see
     if there was glycemic variability or decreases in
     glycemic variability, and things like postprandial
     glucose levels.143

     In addition, public speakers pointed out the importance of

time-in-range and glycemic variability to patients.          For example a

Tld patient stated that

     [y]ou have heard the phrase "time in range" today, and
     hopefully you continue to hear this term more and more in
     clinical trials. To someone living with diabetes, time
     in range is not just a term or a goal. It represents


           continued)
     142 ( •••

consider it in ruling on Defendants' Motion to Dismiss.        See
Dorsey, 540 F.3d at 338 (quoting Tellabs, 127 S. Ct. at 2509). See
also Wehlmann, 737 F. Supp. 2d at 616 (courts may consider "the
full text of documents partially quoted in the complaint").
       Advisory Committee Meeting Transcript, pp. 194:12-195:2,
     143

Exhibit 8 to Defendants' Motion to Dismiss, pp. 195-96.

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    when you can live your life.    It means being able to
    concentrate, having energy to play with your kids, and
    being productive at work. 144

Another patient commented that

     [y]ou've heard everyone talk about time in range. I do
     think it relates to the Ale to some degree. When you
     have less highs and less lows, it's not only a quality­
     of-life issue, but there is data now to indicate that it
     may reduce microvascular complications.

          That's why patients want this drug. They will seek
     out this drug, whether sotagliflozin is approved or not.
     And that's why I think we need regulation and we need
     education. And I can tell you the burden is living with
     type 1 diabetes, not testing the glucose or ketone
     levels.

          So I say let the patient, and myself included, have
     a say in the risk-benefit ratio.145

     During the committee's discussion of sotagliflozin's benefits

a committee member who eventually voted "no" to the question of

whether sotagliflozin's benefits outweighed its risks, nevertheless

recognized the importance of time-in-range and glycemic variability

by stating that

     even though this degree of Ale lowering is modest, 0.3 to
     0.4 percent, I think that glycemic variability and time
     in range is important. I have plenty of patients with
     type 1 in my practice who have been struggling so much to
     try to get Ales down, but it's the hypoglycemia that
     limits things.

          So I think the descriptions of how well the drug has
     worked from the open public hearing,        [are] really
     compelling, but that doesn't alleviate my concerns about
     the drug. But I do want to say that I think that the


     144
           Id. at 237:10-17, Docket Entry No. 34-15, p. 238.
     145
           Id. at 286:18-287: 9, Docket Entry No. 34-15, pp. 287-88.

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     Ale, just the modest degree of Ale lowering, doesn't
     capture the whole thing. I think glycemic variability is
     pretty important. 146

Summarizing the committee's discussion of sotagliflozin's benefits,

the Committee Chairman stated, "In general, the endocrinologists

were encouraging us to think beyond Ale, . . . mentioning very good

time in control and the appropriate ranges of control. " 147

     During the committee's discussion of sotagliflozin's risks a

committee member raised the need to look beyond Ale by stating that

            [t]here's a recognition of the agency, and now in
     the research community, and certainly in the patient
     community, of the inadequacy of Ale as a measure for
     living with a disease for the rest of your life, day in,
     day out.

          In terms of the impact of glucose variability on
     life and functionality, it is significant. If you get
     hypoglycemia, particularly severe hypoglycemia, or even
     if it's not that severe but you've got a substantial drop
     that's very volatile, the impact on your ability to think
     is drastic, and it can happen for days. 148

That same committee member addressed the need for better validated

measures by stating that

         . the issue is we need better validated measures that
     look at glycemic variability and the impact of glycemic
     variability on quality of life, functionality, cognitive
     functioning, et cetera.     But those aren't there yet,



       Id. at 304:2-15, Docket Entry No. 34-15, p. 305 (comments
     146

from Dr. Cecelia Low Wang). See also id. at 373:1-376:21, Docket
Entry No. 34-15, pp. 374-76 (Dr. Low Wang stated reasons for her
"no" vote) .
     147
           Id. at 305:6-7, 12-15, Docket Entry No. 34-15, p. 306.
     148
           Id. at 319:22-320:11, Docket Entry No. 34-15, pp. 320-21.

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       necessarily. They presented two quality-of-life measures
       among patient-reported outcomes.

            Whether or not they're good or not, they're
       validated. That's what they had, and they presented some
       on time in range, which I think is significant and
       important, but we need better measures.     But we don't
       have them at this point, so the sponsor shouldn't
       necessarily be held to a standard to be providing that
       data beyond what they've already done just because that's
       not where the regulatory process is. 149

In    summing     up   the   discussion   of   sotagliflozin's    risks,   the

Committee Chairman stated, "OKA is one metric.              Time in range is

another.       And we need to figure out how to put this all together in

some way to take care of patients. " 150

       In summing up the discussion of the overall risk-benefit

profile of sotagliflozin, the committee chairman stated that

                 . as we've been discussing this, I have the
       benefits, I have the negatives, I have the nulls, and
       then I have potentially other metrics.

            On the benefit side, we have Ale, time in range,
       weight, blood pressure.     Unanswered are micro- and
       macrovascular disease. On the adverse, we have OKA .
          For the null, we have hypoglycemic risk.

            Then we're lacking integrative metrics. We need a
       diabetes integrated metric. That might be part of what
       we would recommend moving forward, is to develop this,
       because we don't have it. 151

       The transcript of the Advisory Committee Meeting shows that

time-in-range and glycemic variability were not only discussed, but


       149
             Id. at 321:2-18, Docket Entry No. 34-15, p. 322.
       150
             Id. at 322:22-323:3, Docket Entry No. 34-15, pp. 323-24.
       151
             Id. at 347:22-348:13, Docket Entry No. 34-15, pp. 348-49.

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also    considered         by   committee     members      when         deciding    whether

sotagliflozin's        benefits     outweighed       its    risks.                The   court

concludes, therefore, that neither defendants' statements about

time-in-range and glycemic variability nor defendants' failure to

disclose either that time-in-range and glycemic variability were

not    validated      endpoints     or      that   time-in-range            and    glycemic

variability were "entirely irrelevant to the Cornmittee and the

FDA's consideration of sotagliflozin," are actionable.



                     (5)    Plaintiffs'   Allegations   that   Defendants
                            Mislead Investors About Their Risk Management
                            Protocol Are Not Actionable

       The FACAC alleges defendants misrepresented the effectiveness

of Lexicon's risk management plan on five different occasions,

i.e., in one earnings call held on November 8, 2017; two press

releases issued on June 23 and 24, 2018; and in two presentations

made by defendant Coats at healthcare conferences held on January

11, 2017, and January 9, 2019. 152               Plaintiffs allege that

       Defendants . . . made materially false and/or misleading
       statements throughout the Class Period by telling
       investors that they were developing or had developed an
       effective risk management program to address OKA, but
       failing to disclose that they had utterly failed to
       create any semblance of such a plan.               These
       misrepresentations were material because Defendants knew
       that they needed to propose a risk management program
       given the increase in incidence of OKA and the FDA's
       prior statements of concern about OKA associated with
       SGLT-2 inhibitors, like sotagliflozin. 153

       152
             FACAC, Docket Entry No. 27, pp. 64-66 <[<JI 183-91.
       153
             rd. at 64 <JI 183.     See also id. at 65            <JI   187 ("Defendants
                                                                           (continued... )

                                            75
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     Citing a large number of documents not referenced in the

FACAC, defendants respond that plaintiffs' allegations that they

"failed to disclose that Lexicon did not have a meaningful risk

management plan for DKA," should be dismissed because (1) Lexicon

accurately disclosed the limitations of its DKA risk management

protocol and that it would be a key issue for FDA approval on

multiple occasions throughout the class period, 154 and (2) "analysts

commented on the feasibility of the clinical risk management plan

in the 'real world' and noted that FDA review would focus on DKA

risk management." 155      Citing the transcript from the Advisory

Committee Meeting,       defendants    argue   that     "the   debate   at   the

Advisory     Committee   centered     not   only   on   the    feasibility    of

Lexicon's risk management plan, but on the feasibility of any risk

management plan to adequately address the DKA risk," 156 and that


        ( ••• continued)
     153

repeatedly represented to investors that they understood the need
for a risk management plan and were in fact developing such a plan,
but failed to disclose that no such plan existed."); and 66 � 191
(Defendants . . . represented to investors that [they] understood
the need for a thorough, detailed and demonstrably effective risk
management plan and were in fact developing such a plan. These
statements      were   materially misleading,   however,    because
[defendants] failed to disclose to investors that no such plan
existed.).

       Defendants' Motion to Dismiss, Docket Entry No. 33, pp. 25-
     154

27.   See also Defendants' Reply, Docket Entry No. 37, p. 17
(arguing that "[p]laintiffs do not allege that Lexicon held back
some internal information about its study design, including the DKA
incidence and the risk management plan. . .").
     155
           Defendants' Motion to Dismiss, Docket Entry No. 33, p. 26.
       Id. (citing Advisory Committee Meeting Transcript, Exhibit
     156

8 to Defendants' Motion to Dismiss, pp. 362:17-364:3, 369:15-20,
                                                   (continued...)

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"[p]laintiffs cannot claim credibly that they were unaware of the

state of the science; the need for an industry-standard DKA risk

management protocol was well-known to investors. 11157

      Asserting that "[d]efendants ask the [c]ourt to take judicial

notice of fifteen documents that are neither attached to nor

referenced in the FAC[AC],11158 plaintiffs argue that the court

should not consider the documents on which defendants rely because

they are irrelevant and because "they either say nothing about the

risk management plan [d]efendants would present to the FDA or

merely reiterate that a DKA risk management plan was essential to

FDA   approval               of   sotaglif lozin. 11159    Asserting    that

"[d]efendants point to their own self-serving statements at the

[Advisory Committee] Meeting [as] suggesting that their risk

management protocol was effective in reducing DKA,11160 plaintiffs

argue that "when the FDA informed the Committee during the Q&A

portion of the meeting that 'there's no difference in the rate of

[DKA] before and after' risk management measures were implemented

('n 125), Lexicon's own experts acknowledged that this was true. 11161

     156 (... continued)
Docket Entry No. 34-15, pp. 363-64, and 370).
      157Id.
      158Plaintiffs' Opposition, Docket Entry No. 35, p. 2 6.
      159Id.
      160Id. n. 10.
    161Id. (citing Advisory Committee Meeting Transcript, p. 2 90: 3-
15, Exhibit 8 to Defendants' Motion to Dismiss, Docket Entry
                                                     (continued...)
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     Defendants' reliance on documents that are neither referenced

nor incorporated into the FACAC in support of their Motion to

Dismiss is misplaced because defendants do not argue, and the court

does not find, that the cited documents are subject to judicial

notice, and the court may not consider them without converting the

motion to one for summary judgment.                Fed. R. Civ. P. 12(d).     See

Dorsey,     540 F.3d at 338 (quoting Tellabs,               127 S. Ct. at 2509

(courts may "rely on 'documents incorporated into the complaint by

reference,       and   matters    of   which   a    court   may   take   judicial

notice'").        Nevertheless,    the court concludes that plaintiffs'

allegations that defendants made statements about a DKA risk

management plan that were materially misleading because defendants

told "investors that they were developing or had developed an

effective risk management program to address DKA, but fail[ed] to

disclose that they had utterly failed to create any semblance of

such a plan, "162 are not actionable because they are contradicted by

the transcript of the Advisory Committee Meeting that is referenced

multiple times in the FACAC and which the court may consider

without converting defendants' motion to a motion for summary

judgment. See Dorsey, 540 F.3d at 338 (quoting Tellabs, 127 S. Ct.

at 2509).        See also Wehlmann, 737 F. Supp. 2d at 616 (recognizing



           continued)
     161 ( •••

No. 34-15, p. 291).
     162
           FACAC, Docket Entry No. 127, p. 64 <JI 183.

                                        78
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that courts may consider on motions to dismiss "the full text of

documents       partially   quoted   in    the   complaint").   The   FACAC's

allegations regarding a DKA risk management plan are contradicted

by the Advisory Committee Meeting transcript, which shows that a

DKA risk management plan existed, and that the Advisory Committee

discussed and considered the plan.               See United States ex. rel.

Riley v. St. Luke's Episcopal Hospital, 355 F.3d 370, 377 (5th Cir.

2004) ("If . . . an allegation is contradicted by the contents of an

exhibit attached to the pleading, then . . . the exhibit and not

the allegation controls.").

     Sanofi's presentation to the Advisory Committee included a

slide titled, "Proposed Risk Management Program to Reduce Risk of

DKA" that stated:
     ■      Based on current practice guidelines
            ■       Patient selection, ketone monitoring, insulin
                    management, recognizing at-risk situations,
                    and use of sick-day rules
     ■      Communication risk of DKA to HCPs and patients
            ■       Educational materials and patient leaflets. 163

Plaintiffs argue that "when the FDA informed the Committee during

the Q&A portion of the meeting that 'there's no difference in the

rate of     [DKA]   before and after' risk management measures were

implemented (� 125), Lexicon's own experts acknowledged that this



       Exhibit 7 to Defendants' Motion to Dismiss,
     163
                                                                Docket Entry
No. 34-14, p. 12.

                                      79
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was true." 164    But what Lexicon's expert actually acknowledged was

that "the studies were not assigned [sic.] to make an assessment

between the two [, i.e., the rate of DKA before and after risk

management measures were implemented] ." 165       The transcript of the

Advisory Committee Meeting also shows that the efficacy of the DKA

risk management plan was not one of the issues the committee was

asked to consider, but that the committee members nevertheless

considered the DKA risk management plan when voting on their fifth

and final question: "Whether sotagliflozin's benefits outweighed it

risks and should be recommended for approval." 166            Al though the


       Plaintiffs' Opposition, Docket Entry No. 35, p. 26 & n. 10
      164

(citing Advisory Committee Meeting Transcript, p. 290:3-15, Exhibit
8 to Defendants' Motion to Dismiss, Do�ket Entry No. 34-15,
p. 291).
       Id. 290:13-14, Docket Entry No. 34-15, p. 291. See also id.
      165

at 333:16-19, Docket Entry No. 34-15, p. 334 (committee member
observing that "the risk mitigation strategy put forth by the
sponsor in the presentations that really hasn't been tested in the
trials is something that a lot of people are thinking about"); id.
at 338:6-8, Docket Entry No. 34-15, p. 339 (FDA representative
stating that "the ketone monitoring, as the sponsor pointed out,
was introduced on April 1, 2016. And the sponsor also pointed out
that patients might have been randomized at different dates. .
[but] the hazard ratio .      [was] about the same . . . before and
after, April 1, 2016").
      166
            Id. at 354:2-16, Docket Entry No. 34-15, p. 355.

           DR. WILSON: Okay. Then the other question, at least
      for some of the committee, it has come up, and it
      certainly has come up for me, personally, there has been
      a proposed REMS [Risk Evaluation and Mitigation Strategy]
      or a mitigation strategy by the sponsor.
               When and where might we discuss that topic? Should
                                                         (continued... )
                                     80
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committee members disagreed about whether a OKA risk management

plan was needed before sotagliflozin could be approved, 167 almost

all of the committee members expressed not only a need for a OKA

risk management plan but also a desire for testing to show that a

risk management plan would be effective. 168

     Because the transcript of the Advisory Committee Meeting shows

that contrary to the allegations in the FACAC, Lexicon had a OKA

risk management plan that was not tested during the phase 3 trials,

and because the FACAC contains no allegations that defendants

falsely described the contents of those trials as including a risk

management plan, that defendants possessed undisclosed information

showing that their risk management plan would not be effective, or

that defendants did not believe that it would be effective, the

court         concludes   that   defendants'   statements   that   they   "were


              continued)
        166 ( •••

        we vote and then discuss it, or should be discuss what a
        REMS project might be in advance? Just provide us some
        advice on that.

             DR. YANOFF: I believe that's a question that could
        fit into the explanation via our recommendation exactly.

             DR. WILSON: That could probably be 5B, so we'll put
        it there, with SB? So we'll hold off until we vote, and
        then we'll discuss.
       See id. at 369: 2-6 (Committee Chairman states, "do you need
        167

the REMS before you approve or could you do a REMS as you approve?
That's, I think, one of the toughest parts of this whole process,
is we'd like to see something in place that would show benefit and
less OKA.").
        168
              Id. at 357:2-382:15, Docket Entry No. 34-15, pp. 358-83.
                                        81
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developing or had developed an effective risk management plan were

not misleading," and that defendants' failures to disclose that

they had no semblance of such a plan are not actionable omissions.

See Nathenson, 267 F.3d at 420 (the securities laws do not require

a company to disclose alleged inadequacies or shortcomings of

clinical trials, as long as the trials are accurately described and

the data is not falsified). The fact that virtually all members of

the Advisory Committee expressed concern about the effectiveness of

the risk management plan presented at the Advisory Committee

Meeting does make defendants' statements about the risk management

plan fraudulent. See In re AstraZeneca Securities Litigation, 559

F. Supp. 2d   453, 471 (S.D.N.Y. 2008), aff'd, 334 F. App'x 404 (2d

Cir. 2009) (nearly unanimous vote of FDA Advisory Committee not to
recommend a drug for approval did not mean that information issued

publicly by the sponsor was dishonest or recklessly disseminated").



                 (6)   Conclusions

     For the reasons stated above the court concludes that neither

the materials presented, the comments made, nor the tie vote on the
question of whether the benefits of sotagliflozin outweigh its
risks taken at the Advisory Committee Meeting held on January 17,
2019, support plaintiffs' claims that defendants misrepresented the
results of the phase 3 trials by          (1) failing to disclose FDA
warnings against the composite endpoint, (2) misrepresenting the


                                     82
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extent and severity of DKA,       ( 3) misrepresenting the benefits of

sotagliflozin,   (4) failing to fully disclose that "time-in-range"

was not a validated endpoint, and (5) misleading investors about

their risk management protocol.

     Plaintiffs' reliance on materials presented, comments made,

and the vote taken at the Advisory Committee Meeting in support of

their allegations that defendants committed securities fraud is

analogous to allegations of fraud by hindsight,            i.e.,   where a

plaintiff alleges the fact that a company reports negative results

means that the company's prior reports of good results must have

been false or misleading.         The Fifth Circuit has made clear,

however, that allegations of negative results are generally not

sufficient to satisfy the requirements for pleading securities

fraud, and that plaintiffs must allege facts capable of raising a

plausible inference that earlier statements were false when made.

The court concludes that the FACAC is subject to dismissal for

failure to allege an actionable misrepresentation because the

FACAC's allegations of defendants' omissions do not contain facts

capable of establishing that any of the alleged omissions caused

any of defendants' statements to be false or misleading when made.

As another district court has recently observed in ruling on a

motion to dismiss involving similar albeit not identical facts,

     were plaintiffs' version of falsity the law,            a
     pharmaceutical company could be sued for securities fraud
     each and every time it received a NDA rejection from the
     FDA.    Potential plaintiffs could merely parrot any

                                    83
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       deficiency identified by the FDA . . . and then claim the
       company concealed from the market that it failed to
       include this "necessary" piece of information in its
       application.   Plaintiffs would further claim that the
       company knowingly concealed from the market the
       corresponding "exceedingly high risk" of FDA rejection.
       These same potential plaintiffs would then classify the
       company's decision to omit whatever, in hindsight, the
       FDA said was missing from the NOA as a "reckless gamble,"
       and the inevitable decline in the stock price would be
       classified as a monetary loss caused by this material
       omission.

Immanuel Lake             v.   Zogenix.   Inc.,   No. 19-cv-01975-RS,   2020   WL

3820424, at *9 (N.D. Cal. January 24, 2020).                 More is needed to

plead actionable omissions under § l0(b) and Rule l0b-5, as the

case law discussed above has made clear.



                    (b)   Plaintiffs Fail to Plead Scienter

       Defendants argue that they are entitled to dismissal of the

§     l0(b) and Rule           l0b-5 claims asserted against them because

plaintiffs failed to plead scienter. 169                Defendants argue that

plaintiffs' pleadings fail to distinguish between them with respect

to allegations of scienter, and that plaintiffs' scienter theory

relies exclusively on assertions that would almost universally be

true, such as the desires to raise capital and protect their

compensation packages. 170           Asserting that if they




        169
                 Defendants' Motion to Dismiss, Docket Entry No. 33, pp. 27-
29.
             0
        17       Id. at 28.

                                            84
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     were engaged in a scheme to mislead investors and [the]
     FDA about the results of their clinical trials, then they
     would not have disclosed the [] precise results repeatedly
     and publicly.             [and] would not have warned
     repeatedly about the risk that [the] FDA would not
     approve its investigational drugs, 171

defendants argue that "the more compelling inference is that [they]

made a good faith effort to comply with all applicable disclosure

and regulatory requirements - and that [they] believed that the

benefits of sotagliflozin outweighed its risks." 172

     Plaintiffs respond that they have adequately pleaded scienter

by alleging that the Individual Defendants (1) designed the Phase

3 trials to mask the incidence of OKA,           (2) knew their statements

were misleading because they were responsible for all clinical

development activities,       met   with   the   FDA,    and   received    data

directly      from   trial   investigators,      (3)    were   motivated     to

misrepresent the trial results because their compensation was tied

to the FDA' s approval of sotagliflozin and Lexicon needed that

approval to survive, and (4) their warnings that the FDA might not

approve sotagliflozin were too generic to create an inference of

non-fraudulent intent as compelling as the inference of scienter. 173


     171
           Id. at 29 (citing id. at 12-16).
     1 2
      7 Id. See also Defendants' Reply, Docket Entry No. 37, pp. 7-
10 (especially p. 8 citing In re AstraZeneca, 559 F. Supp. 2d at
458 and 471, and Oppenheim Primerica Asset Management S.A.R.L. v.
Encysive Pharmaceuticals, Inc., No. H-06-3022, 2007 WL 2720074, *5
(S.D. Tex. September 18, 2007), in support of the argument that
"[t] he more compelling inference is that [d] efendants honestly
believed that the OKA risk could be effectively managed, and thus
was outweighed by sotagliflozin's benefits").
     173
           Plaintiff's Opposition, Docket. Entry No. 35, pp. 27-30.

                                     85
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Plaintiffs argue that Coats and Lapuerta's scienter is shown by

their statements that sotagliflozin's benefits outweighed its risks

and that the Phase 3 trials showed only a "slight" increase in

DKA. 174         Plaintiffs also argue that the Individual Defendants'

positions within the company are sufficient to allege scienter

pursuant to "special circumstances" recognized by the Fifth Circuit

in Nathenson, 2 67 F.3d at 4 00, and Dorsey, 54 0 F. 3d at 333. 175

       For the reasons stated in § II.B.l(a), above, the court has

already concluded that this action is subject to dismissal because

the FACAC fails to allege an actionable misrepresentation.                       The

FACAC's failure to allege an actionable misrepresentation precludes

plaintiffs from raising a strong inference of scienter with respect

to any of the alleged misrepresentations. Alternatively, assuming

that the alleged misrepresentations are actionable,                      the court

concludes          that     this   action   is    subject   to   dismissal   because

plaintiffs have not alleged facts supporting a strong inference

that the alleged misrepresentations were made with scienter.



                          (1)   Additional Law

      The PSLRA, 15 U.S.C. § 7 Bu-4 (b) ( 2) , requires plaintiffs to

"state with particularity facts giving rise to a strong inference
that the defendant[s] acted with the required state of mind."                   "The


       174
               Id. at 28.
       17
           5
               Id. at 28-29.
                                             86
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required state of mind [for scienter] is an intent to deceive,

manipulate, or defraud or severe recklessness."         Lormand, 565 F.3d

at 251 (quoting Indiana Electrical, 537 F. 3d at 533).              "Severe

recklessness" is

     limited to those highly unreasonable omissions or
     misrepresentations that involve not merely simple or even
     inexcusable negligence, but an extreme departure from the
     standards of ordinary care, and that present a danger of
     misleading buyers or sellers which is either known to the
     defendant or is so obvious that the defendant must have
     been aware of it.

Indiana Electrical,     537   F.3d at 533      (citation omitted).          In

Tellabs,   127 S. Ct. at 2510,       the Supreme Court held that a

complaint will survive a motion to dismiss "only if a reasonable

person would deem the inference of scienter cogent and at least as

compelling as any opposing inference one could draw from the facts

alleged." See also Spitzberg v. Houston American Energy Corp., 758

F.3d 676, 683-84 (5th Cir. 2014) (same); and Lormand, 565 F.3d at

251 ("[I]n determining whether the pleaded facts give rise to a

'strong' inference of scienter, the court must take into account

plausible opposing inferences.").        The critical issue in a motion
to dismiss for failure to allege scienter "is whether all of the

facts alleged, taken collectively, give rise to a strong inference

of scienter, not whether any individual allegation, scrutinized in

isolation, meets that standard." Tellabs, 127 S. Ct. at 2509. See
also Barrie v. Intervoice-Brite, Inc., 397 F.3d 249, 259 (5th Cir.
2005)   (acknowledging that courts "consider all the facts and
circumstances alleged to determine whether they, in toto, raise a
requisite strong inference of scienter").

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      Plaintiffs "must allege facts sufficient to raise a strong

inference of scienter with respect to each individual defendant."

R2 Investments LDC v. Phillips, 401 F.3d 638, 643 (5th Cir. 2005)

See   Southland,   365   F.3d   at   365   ("[T]he    PSLRA    requires   the

plaintiffs to distinguish among those they sue and enlighten each

defendant as to his or her particular part in the alleged fraud.").

Group allegations that "the defendants" or "the company" knew

something do not meet that standard.       Indiana Electrical, 537 F.3d

at 533 ("[T]his court has rejected the group pleading approach to
scienter and instead looks to the state of mind of the individual
corporate official or officials 'who make or issue the statement

(or order or approve it or its making or issuance, or who furnish

information or language for inclusion therein, or the like) rather

than generally to the collective knowledge of all the corporation's

officers   and     employees    acquired   in   the     course    of   their

employment.'") (quoting Southland, 365 F.3d at 366) ) .

      In the context of the development of a new drug, "[i]f the

management knows that certain facts will necessarily prevent the

regulatory approval              and conceals these facts from the

investing public, then there is scienter."           In re AstraZeneca, 559
F. Supp. 2d at 470.      Scienter also exists "if the management is
reckless in dealing with such adverse facts."            Id.   If, however,
management releases positive reports about a drug to the public
that management honestly believes to be true,             and there is no

reckless disregard for the truth, then there is no scienter.              Id.


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                                                                          T
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               (2)   Analysis

                     (i)   Defendants' Trial Design and Statements
                           Do Not Strongly Infer Scienter

  The FACAC alleges that

  [d]efendants had actual knowledge that the statements
  they were making about the performance of sotagliflozin
  in the Phase 3 Trials were misleading because Lexicon was
  responsible for the clinical development of sotagliflozin
  for Tld under the Sanofi Agreement, had met with FDA
  officials and had received data directly from the
  investigators conducting the trials, the development of
  sotagliflozin was essential for Lexicon's survival, and
  [d]efendants had designed the Phase 3 Trials to conceal
  the increased risk of DKA.

       In addition, confidential witnesses who worked for
  [d]efendants corroborated [d]efendants' knowledge of the
  problems with sotagliflozin in the Phase 3 Trials. CWl,
  for example,     was the receptionist at Lexicon's
  headquarters in The Woodlands, Texas, from July 2015 to
  February 2018. Although CWl was the receptionist, she
  performed work for all of Lexicon's departments. CWl
  participated in the submission of sotagliflozin to the
  FDA because she (i) attended at least two mock
  presentations in the second half of 2017 at Lexicon that
  were trial runs of what [d]efendants and Sanofi would
  present to the FDA regarding the forthcoming NOA for
  sotagliflozin, and (ii) performed research on OKA and
  hypoglycemia for [d]efendants and other Lexicon and
  Sanofi employees to use in addressing the FDA's concerns
  about those conditions. CWl described how she received
  explicit, detailed instructions on what she could and
  could not say about sotagliflozin to indivictuals entering
  or leaving Lexicon's headquarters. Lexicon required CWl
  to practice her responses to questions from hypothetical
  individuals entering or leaving Lexicon's headquarters.

       CWl said that the mock presentations indicated that
  there were problems with sotagliflozin.    Executives at
  Lexicon stormed out of the presentations screaming,
  "[t]he research isn't there. This is going to hell!"
  CWl also recalled that members of Lexicon's research
  department told her that sotagliflozin "is going to be
  tough. This one is going to be harder to get through."


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       They said that, "XERMELO was easy, sotagliflozin is going
       to be hard."

            Similarly, CW2 was a Vice-President for Sales at
       Lexicon from 2016 to 2017.       CW2 participated in a
       quarterly call in 2017, in which sotagliflozin was
       discussed   with   representatives    of   the   European
       Association for the Study of Diabetes. CW2 said that
       incidences of DKA in the Phase 3 Trials were discussed on
       the call, and that he believed Lexicon [w]as "spinning"
       the incidences of DKA, including by highlighting how the
       setting of the Phase 3 Trials could have contributed to
       the incidence of OKA. 176

       Missing from the FACAC are allegations of specific facts

connecting any of the Individual Defendants to the vast majority of

the alleged misrepresentations.           Neither the facts alleged in the

FACAC nor the accounts of the confidential witnesses demonstrate

that    any      of   the   Individual    Defendants   made   any   conscious

misrepresentation concerning the performance of sotagliflozin in

the phase 3 trials or the design of those trials.

       Plaintiffs' allegations that defendants designed the phase 3

trials to conceal the increased risk of DKA are conclusory and

unsupported by facts capable of establishing that the trials were

designed by any of the named defendants or designed to highlight

the benefits of sotagliflozin while concealing the risks of OKA.
As discussed in§ II.B.l{a) (2), above, these allegations are based

solely on comments made by the FDA and members of the advisory
committee at the Advisory Committee Meeting held on January 17,
2019, long after almost all of the alleged misrepresentations were



       17
         6
             FACAC, Docket Entry No. 27, pp. 33-34 <JI<JI 96-99.
                                         90
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made.         Nor are there allegations of fact capable of establishing

that defendants withheld internal information about the study

design, the trial results or interpretations, or disagreements with

the FDA or anyone else about the study design, the trial results,

or their interpretation.            In short, the FACAC does not contain any

allegations         of   fact     showing   that   when   defendants   made   the

statements alleged to be misleading, defendants were aware of
contradictory information that they failed to disclose.

        Also missing from the FACAC are allegations of fact showing
when or where defendants met with the FDA or what was discussed at

those meetings, when defendants received data from investigators

conducting the trials or what data they received, or why that data

contradicted any of defendants' alleged misrepresentations.

        Nor are there any allegations of fact showing that the

development of sotagliflozin was essential for Lexicon's survival.

The Annual Reports cited in the FACAC all show that sotagliflozin

was neither Lexicon's only product nor its only potentially

profitable product.             For example, the FACAC alleges that
        [a]t the start of the Class Period, on March 11, 2016,
        Lexicon filed its annual report on Form 10-K for the year
        2015, which was signed by the Individual Defendants (the
        "2015 10-K"). That report disclosed, among other things,
        that Lexicon was "presently devoting most of our
        resources to the development of our two most advanced
        drug candidates." These drugs were "XERMELO," an oral
        treatment   for    carcinoid  syndrome    diarrhea,   and
        sotagliflozin. 177




        177
              Id. at 16 <JI 50.
                                            91
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Moreover, Lexicon's Annual Report for 2016 stated that "[w]e have

obtained approval from the       . . FDA to sell our first commercial
product, XERMELO," 178 and Lexicon's Annual Report for 2017 stated

that "[w]e commercially launched XERMELO . . . following regulatory

approval in the United States in February 2017                  111 79
                                                                          Thus,

factual allegations contained in the FACAC, and facts stated in

Lexicon's Annual Reports for 2016 and 2017, both of which are

referenced by and incorporated into the FACAC, counter plaintiffs'

contention that sotagliflozin was essential for Lexicon's survival.

     The FACAC's allegations of information received from CWl and

CW2 are not sufficient to raise any inference - much less a strong

inference - of scienter.     Neither the fact that CWl was coached on

what to say about sotagliflozin to individuals visiting Lexicon's

headquarters, nor her accounts of mock presentations at which

unnamed executives exclaimed "[t]he research isn't there.                This is

going to hell!," or of conversations with members of Lexicon's

research department who said that sotagliflozin "is going to be

tough," show that any of defendants' alleged misrepresentations

were false, misleading, or made with scienter.
     CW2's report that he believed Lexicon was "spinning" the

incidences of DKA during a conference call held in 2017 that is not


       2016 Annual Report, Form 10-K, p. 1, Exhibit 3
     178
                                                                             to
Defendants' Motion to Dismiss, Docket Entry No. 34-3, p. 4.
       2017 Annual Report, Form 10-K, p. 2, Exhibit 4
     179
                                                                             to
Defendants' Motion to Dismiss, Docket Entry No. 34-4, p. 5.
                                    92
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otherwise alleged in the         FACAC similarly fails to raise any

inference of scienter because CW2 neither describes what was said

to make him think that Lexicon was "spinning" the incidences of

OKA, nor explains why the setting of the phase 3 trials could have

contributed    to   the   incidence   of    OKA.    Fatal    to   plaintiffs'

arguments regarding the confidential witness accounts is that the

FACAC fails to allege that either CWl or CW2 presented information

to or about any Individual Defendant capable of establishing that

any of the representations alleged to be false or misleading was,

in fact, inaccurate or known by any of the defendants to have been

inaccurate.     See In re Citigroup Inc. Securities Litigation, 753

F.Supp.2d 206,      245   (S.D.N.Y. 2010)      ("Plaintiffs cannot rely on

assertions that the information presented by confidential witnesses

was known or common knowledge within the company; these assertions

are too vague and conclusory to support a finding that defendants

knew they were making false statements or made those statements

with reckless disregard for their truth or falsity.").

      Plaintiffs argue that "Coats and Lapuerta's scienter is shown

by their statements placating analysts and/or at conferences about

how   they    had   structured   Phase     3   Trials   to   prove   that   []

sotagliflozin's benefits outweighed its risks and that the trials

showed only a 'slight' increase in OKA. "180        But even assuming that



       Plaintiffs' Opposition, Docket Entry No. 35, pp. 28 (citing
      180

FACAC, Docket Entry No. 27, pp. 25 � 77, 47-48 �� 140-41, 49-50
� 144, 52-53 �� 150-51, 62-63 �� 177-78).
                                      93
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these statements were misleading, plaintiffs fail to allege facts

showing that Coats and Lapuerta had ample reason to know that their

statements   were   false   or   misleading.      Absent   particularized

allegations capable of showing that Coats and Lapuerta had ample

reason to know the falsity of their statements, false statements

alone are not sufficient to raise a strong inference of scienter.



                       (ii) Defendants' Motivations

     Nor have plaintiffs alleged facts capable of raising a strong

inference of scienter with respect to the defendants' alleged

motivations for making the alleged misrepresentations.          In support

of this argument plaintiffs cite the FACAC's allegations that

     the Individual Defendants' scienter is also established
     because the alleged misstatements and omissions at issue
     here concerned Lexicon's core operations. Indeed, one of
     the central allegations is that sotagliflozin was
     essential to the Company's survival. In addition, each
     annual report on Form 10-K and quarter report on form 10-
     Q filed by Lexicon during the Class Period, which was
     signed by the Individual Defendants and included
     certifications by the Individual Defendants as to the
     accuracy of the reports' contents, . stated that
     sotagliflozin was one of Lexicon's "most advanced drug
     programs" and that the Company was "devoting most of
     [its] resources to the commercialization or development"
     of those programs, including sotagliflozin.
          Moreover, under the terms of the Sanofi Agreement,
     Lexicon had gra[n]ted Sanofi t0e entire rights to
     commercialize sotagliflozin for Tld and T2d outside of
     the United States. Thus Lexicon's royalties for sales of
     sotagliflozin outside of the United States paled in
     comparison to the royalty the Company was entitled to for
     sales of sotagliflozin inside the United States.
     Defendant Coats himself told analysts and investors on a
     March 1, 2016[,] conference call that royalties Sanofi
     would pay Lexicon would "range[] from low double-digit
                                    94
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     percentages to 40% of net sales, specifically in the U.S.
    and for type 1 diabetes." Accordingly, the Individual
    Defendants knew that for Lexicon to obtain the
    substantial royalties under the Sanofi Agreement, they
    could not rely on approval of sotagliflozin outside the
    United States; it was essential the FDA approve
    sotagliflozin.

          Finally, CW3, the former Head of Commercial
     Operations for Lexicon from August 2016 to March 2018,
     stated that Defendant Coats's compensation was directly
     tied to FDA approval of sotagliflozin. Defendant Coats
     thus was incentivized to fraudulently emphasize the
     modest benefits of sotagliflozin while concealing the
     risks of DKA.      Defendants Wade and Lapuerta had
     compensation packages tied to        FDA  approval   of
     sotagliflozin as well. 181



     The law in this circuit has long been well established that

scienter in a particular case may not be based solely on motives

universal to all corporate executives such as the desire to

increase corporate earnings or to receive incentive compensation.

See Abrams,     292 F.3d at 434.      The Fifth Circuit affirmed the

dismissal of similar claims based on incentive compensation in

Tuchman v. DSC Communications Corp., 14 F.3d 1061 (5th Cir. 1994).

There the Fifth Circuit stated that

     [i]ncentive compensation can hardly be the basis on which
     an allegation of fraud is predicated. One a practical
     level, were the opposite true, the executives of
     virtually every corporation in the United States would be
     subject to fraud allegations. It does not follow that
     because executives have components on their compensation
     keyed to performance, one can infer fraudulent intent.
Id. at 1068-69.     Incentive compensation packages may be considered

in conjunction with other scienter allegations, Barrie, 397 F.3d at


     181
           FACAC, Docket Entry No. 27, pp. 77-78    <[<[   223-25.
                                    95
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2 64,   but only in an extraordinary case is it probative.                   See

Goldstein v.     MCI WorldCom,    340 F.3d 238,      250    (5th Cir. 2003)

(holding that compensation package was probative where MCI WorldCom

CEO Bernard Ebbers had a unique pay package and stood to lose

millions    in   compensation    if   WorldCom's    stock    price   dropped

significantly,    and if his compensation suffered a materially

adverse change, certain personal loans - which were secured by

Ebbers' shares of WorldCom stock - would immediately become due).

The FACAC contains no allegations of fact regarding any details of

the Individual Defendants' compensation packages, much less details

capable of establishing that this is an extraordinary case.                  Nor

are there any allegations that any of the Individual Defendants

engaged in insider trading or stood to benefit personally from any

of the alleged misrepresentations.         Plaintiffs offer no facts in

support of their contention that any of the Individual Defendants

were motivated to make the alleged misrepresentations with scienter

other than the fact that,         like the senior ma�agers of every

company, they had control over the Company.

        In Indiana Electrical, 537 F.3d at 544, the Fifth Circuit

recognized an exception to the rule that motives universal to all

corporate executives are insufficient to raise a strong inference
of scienter when a company is in need of completing a crucial
transaction or particularly motivated to maintain or improve its
credit rating.     For example, in Ramirez v. Exxon Mobil Corp., 334


                                      96
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F.Supp.3d 832, 853 (N.D. Tex. 2018), the plaintiff alleged that at

the time of a debt offering, the defendant company "was in dire

financial need of an infusion of capital and that the Debt Offering

was the 'largest single debt offering in [ the company's] history.'"

334 F.Supp.3d at 853.       Citing the exception recognized in Indiana

Electrical, and observing that the plaintiff alleged facts capable

of establishing that the defendant company lacked sufficient cash

flow to pay the shareholders' dividends,                and that both paying

dividends   and maintaining        a   AAA   credit    rating    was   extremely

important to the company, the Ramirez court held that the plaintiff

had alleged facts supporting a strong inference of scienter as to

all of the defendants.       Id.

     Plaintiffs argue that the exception recognized in Indiana

Electric    applies   in this case because            one   of   their   central

allegations is that sotagliflozin was essential to the Company's

survival.   But the FACAC contains no allegations of fact comparable

to those alleged in Indiana Electrical or Ramirez.               The FACAC does

not allege facts capable of establishing either that Lexicon had a

crucial need for funds, or that Lexicon was particularly motivated

to maintain or to improve its credit rating.                 And for reasons

stated in the    §    II.B.1 (b) (2) (i),    above,    the court has already

concluded the FACAC contains no facts showing that sotagliflozin

was essential to Lexicon's survival.                  Accordingly,     the court

concludes that plaintiffs' argument that defendants' desire for

sotagliflozin to receive FDA approval do not support a strong

inference of scienter as to any defendant.

                                       97
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                        (iii) Special Circumstances Do Not Apply

     Citing Dorsey, 540 F.3d at 342, and asserting "allegations

that a defendant made misstatements with scienter because of the

defendant's senior position within the company are sufficient under

'special circumstances,'" 182 plaintiffs argue that facts capable of

establishing three of the four special circumstances recognized in

Dorsey are present in this case. 183       In Dorsey the Fifth Circuit

applied special circumstances recognized in Nathenson, 267 F.3d at

400, to hold that defendants, by virtue of their positions as

president and director of two very small businesses employing a

total of eight workers in which the defendants ran all the day-to­

day operations, could be imputed with knowledge of the company's

failure to make secured loans.        540 F.3d at 342-43.        The Fifth

Circuit reiterated that such circumstances may include: (1) a small

company in which corporate executives are more likely to be

familiar with day-to-day operations; (2) transactions "critical to

the company's continued vitality"; (3) omitted information readily

apparent to the speaker;       and   (4)   statements by the corporate

officer that are internally inconsistent.          Id.   In Nathenson the

company at issue was a single product company with only three dozen

employees, and the statements alleged to be false and misleading
were about the patent protection for that single product,                   the
company's most crucial issue.

     182
           Plaintiffs' Opposition, Docket Entry No. 35, p. 28.
     183
           Id. at 29.
                                     98
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     The   Fifth Circuit and other courts have been reluctant,

however, to apply the limited exception recognized in Nathenson.

See Rosenzweig v. Azurix, 332 F.3d 854, 867-68              (5th Cir. 2003)

(rejecting     the   plaintiffs'      argument   that    "the     failure    of

(defendant's]      core   business      water-privatization       projects

supports     the   inference   that    defendants   knew,    or    recklessly

disregarded, (defendant's] prospects for success" and holding that

the plaintiffs must identify exactly who supplied the information or

when they knew the information") ; Abrams,          292 F.3d at 432          ( "A

pleading of scienter may not rest on the inference that defendants

must have been aware of the misstatement based on their positions

within the company.").       Instead, the Fifth Circuit has stated that

only in the "rare case" will a strong inference of scienter be drawn

from an officer's position in a company, and only when this factor
combines with other, "special circumstances."           Local 731 I.B of T.

Excavators and Pavers Pension Trust Fund v. Diodes, Inc., 810 F.3d
951, 958-59 (5th Cir. 2016).

     Plaintiffs argue that the

     FAC(AC] alleges three of four "special circumstances."
     First, sotagliflozin was essential to Lexicon because the
     Company had minuscule revenues, enormous debt and
     plummeting cash, and sotagliflozin was the only product
     that could make Lexicon profitable. <JI<JI 53-58. Second,
     the withheld or misrepresented information was readily
     apparent to Defendants because they oversaw the Phase 3
     Trials, met with the FDA about the trials and
     communicated results to investors. See�, <JI<JI 52, 77,
     96, 116, 140-41, 144, 150-51. Sotagliflozin was also one
     of Lexicon's "most advanced drug programs" to which the
     Company was "devoting most of [its] resources." <JI 223.

                                      99
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     Finally, in November 2017, Coats told investors that
     Phase 3 Trials used a "[p]ragmatic study design
     reflecting [a] real-world setting." ! 147. The briefing
     document Lexicon submitted to the Committee, however,
     states that further study is needed in a "'real-world'
     setting."   See Mot. at 20.     This is an inconsistent
     statement because, after Coats promoted the trials'
     "real-world setting," Lexicon admitted that it needed to
     conduct trials in a real-world setting. See Dorsey, 540
     F.3d at 342. Since three of four special circumstances
     are present, the Court may infer [d]efendants' scienter
     from their positions at Lexicon.184

     The factual allegations in this case do not approximate those

in Dorsey or Nathenson.     In contrast to the small companies with a

total of 8 and 36 employees, respectively, at issue in Dorsey and

Nathenson, Lexicon was a growing company throughout the Class

Period with 120 employees in February of 2016, 185 168 employees in

February of 2017, 186 174 employees in February of 2018, 187 and 202

employees in February of 2019.188         Moreover,    Lexicon was not a

single product company, and sotagliflozin was not the only Lexicon



     1
         s4Id.


       2015 Annual Report, Form 10-K, p. 12, Exhibit 1 to
     185

Defendants' Motion to Dismiss, Docket Entry No. 34-1, p. 15 ("As of
February 29, 2016, we employed 120 persons. . .").
       2016 Annual Report, Form 10-K, p. 13, Exhibit 3 to
     186

Defendants' Motion to Dismiss, Docket Entry No. 34-3, p. 17 ("As of
February 28, 2017, we employed 168 persons. . .").
       2017 Annual Report, Form 10-K, p. 16, Exhibit 4 to
     187

Defendants' Motion to Dismiss, Docket Entry No. 34-4, p. 19 ("As of
February 26, 2018, we employed 174 persons.    .").
       2018 Annual Report, Form 10-K, p. 17, Exhibit 1 to
     188

Plaintiffs' Opposition, Docket Entry No. 36-1, p. 25 ("As of
February 28, 2019, we employed 202 persons . .").
                                    100
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product capable of earning a profit.               Each of the Lexicon Annual

Reports cited in the FACAC identify other products in various

stages of development, including XERMELO, which was approved by the

FDA   before       the   sotagliflozin    phase    3   trials   ended   and    was

commercialized in 2017.189 Although the FACAC alleges that Lexicon

was dependent upon sotagliflozin's approval to survive,                       this

allegation is conclusory, not supported by allegations of fact, and

contradicted by disclosures in Lexicon's Annual Reports such as the

statement that "[p] rior to the launch of XERMELO,                    we derived
substantially all of our revenue from strategic collaborations and

other         research   and   development     collaborations   and   technology

licenses." 190

      The only "internally inconsistent" statement that plaintiffs

identify is a statement made by Coats in an earnings call held on

November 8, 2017, in which he said that the phase 3 trials used a
"[p] ragmatic study design reflecting [a]              real-world setting. " 191


       2017 Annual Report, Form 10-K, p. 2, Exhibit 4 to
        189

Defendants' Motion to Dismiss, Docket Entry No. 34-4, p. 5 ("We
commercially launched XERMELO .   . following regulatory approval
in the United States in February 2017 .   .").
        190
              rd. at 24, Docket Entry No. 34-4, p. 27.
       FACAC, Docket Entry No. 27, p. 51 ':l[ 147. See also November
        191

8, 2017, Earnings Call Transcript, p. 8, Exhibit 21 to Defendants'
Motion to Dismiss, Docket Entry No. 34-28, p. 9 ("Notably, in
inTandem3, insulin was not optimized prior to randomization.
That's a pragmatic design that we believe better reflects real­
world experience.   And we saw that drug-treated patients again
demonstrated statistically significant reductions in Ale compared
                                                      (continued... )
                                         101
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Plaintiffs argue that Coats' statement is inconsistent with a

statement made in the briefing document Lexicon submitted to the

Committee that further study is need in a real-world setting . 192

Defendants argue that "Lexicon's statement that it designed its

study to reflect a "real world setting" is not inconsistent with a

later statement that "further study is needed in a 'real-world

setting.'"193    When read in context these two statements are not

contradictory because they address two different subjects. The

statement Coats made during the November 8, 2017, earnings call

addressed insulin optimization prior to randomization in the

inTandem3 study.    But the statement that plaintiffs cite from the

brief that Sanofi submitted to the Advisory Committee addressed how

to effectively manage the risk of DKA in a real-world setting.

     In short, the FACAC does not allege special circumstances

capable of supporting an assumption that because of their positions



           continued)
     191 ( •••

to placebo.").
     1
       Plaintiffs' Opposition, Docket Entry No. 35, p. 29 (citing
         92
FACAC, Docket Entry No. 27, p. 51 � 147, and Defendants' Motion to
Dismiss, Docket Entry No. 33, p. 25. See Sanofi Briefing Document,
Exhibit 2 to Defendants' Motion to Dismiss, p. 96, Docket Entry
No. 34-2, p. 98) ("A Post Authorization Safety Study is planned to
evaluate the risk of DKA in the post-marketing, 'real-world'
setting. This retrospective cohort study will evaluate the risk of
DKA in patients treated with sotagliflozin adjunct therapy in TlD
as compared to patients treated with insulin alone, using existing
large US healthcare databases.")).
       Defendants' Reply, Docket Entry No. 37, p. 10 & n. 9 (citing
     193

Plaintiffs' Opposition, Docket Entry No. 35, p. 29).
                                    102
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as officers of Lexicon the               Individual Defendants' acted with

scienter.     The allegations in the FACAC do not raise an inference

of intent or severe recklessness that is at least as compelling as

the opposing inference one could draw from the facts alleged.

Defendants     invested        significant         resources   in    sotagliflozin's

development, indicating genuine belief that the drug would receive

FDA approval and be successfully marketed.                     Plaintiffs' factual

allegations make it more plausible, or at least as plausible, to

infer that when signing the SEC filings at issue the Individual

Defendants honestly believed that the benefits of sotagliflozin

outweighed     its    risks     than     to    infer    that   they    knowingly      or

recklessly    disregarded the            presence      of glaring      red    flags   in

sotagliflozin's trial results.                See Tellabs, 127 S. Ct. at           2510;

Central Laborers, 497 F.3d at 555.                  The court therefore concludes

that    plaintiffs'        factual     allegations      fail   to    raise    a   strong

inference of scienter as to any of the Individual Defendants.



                     (3)     Conclusions

       The PSLRA requires plaintiffs to allege facts sufficient to

raise    a   strong        inference    of    scienter    with      respect   to    each

defendant. R2 Investments, 401 F.3d at 643; Southland, 365 F.3d at

365; Indiana Electrical, 537 F.3d at 533. A complaint will survive

a motion to dismiss "only if a reasonable person would deem the

inference of scienter cogent and at least as compelling as any


                                             103
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opposing inference one could draw from the facts alleged."
Tellabs, 127 S. Ct. at 2510.            Plaintiffs argue that the FACAC's

allegations regarding defendants' misrepresentations of the results

of the phase 3 trials, entitlement to incentive compensation if

sotagliflozin received FDA approval, need for sotagliflozin to be

approved for the company to survive, together with the accounts of

the three confidential witnesses, all support a strong inference of

scienter. 194          The court concludes that taken together, all of the

facts alleged in the FACAC fail to support a strong inference of

scienter because plaintiffs have failed to allege facts regarding

defendants' alleged misrepresentations,           incentive compensation,

dependence on sotagliflozin for survival, or confidential witness

statements showing that any of the alleged misrepresentations were

made with knowledge of their falsity or with reckless disregard for

their truth or falsity.



                 (c)    Plaintiffs Fail to Plead Loss Causation
        Defendants argue that they are entitled to dismissal of the

§     l0(b)     and Rule      l0b-5 claims asserted against them because

plaintiffs have failed to allege facts capable of establishing loss

causation. 195         Defendants argue that



        194
              Id. at 22-27.
          Defendants' Motion to Dismiss, Docket Entry No. 33, pp. 29-
        195

30.     See also Defendants' Reply, Docket Entry No. 37, pp. 21-22.
                                        104
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     Plaintiffs' losses were admittedly caused by FDA's
     disappointing decision not to approve sotagliflozin as an
     adjunct to insulin for the treatment of type 1 diabetes
     and the announcement of Sanofi's purported termination of
     its collaboration agreement with Lexicon.          Courts
     regularly dismiss securities fraud complaints, like the
     FAC[AC], that seek damages based on factors other than
     disclosure of misstated or omitted facts. Similarly, the
     FAC[AC]'s transparent attempt to collect damages caused
     by bad business results must be dismissed. 196

Asserting that "the risk of DK was already disclosed and known to
                 197
the market,    11      defendants argue that the stock price declines

following disclosures on January 17, March 22, and July 26, 2019,

were caused not by fraud but by disappointment that the FDA would
not approve sotagliflozin, a disclosed risk. 198

     Citing Dura Pharmaceuticals, Inc. v. Broudo, 125 S. Ct. 1627,

1634 (2005), plaintiffs argue that they "need only furnish the
defendant[s] with         'some indication' of the causal connection

between the misrepresentation and the loss to satisfy [their
                                            1199
requirement to plead loss causation.       1       Citing Amedisys, 769 F. 3d



     1 6
      9Defendants' Motion to Dismiss, Docket Entry No. 33, p. 30 &
n. 46 (citing FACAC, Docket Entry No. 27, pp. 72-73 i 212 (noting
that Lexicon's stock price declined after disclosure of tie vote at
the Advisory Committee); 73 i 213          ("These declines were
attributable to the disclosure of the Advisory Committee's decision
not to recommend sotagliflozin for approval .     . 11); 73-74 i 215
(noting that Lexicon's stock price dropped after disclosure that
the FDA would not approve sotagliflozin for Tld patients; and 77
i 221 (noting that Lexicon's stock price dropped after Sanofi
announced its intent to terminate the agreement with Lexicon)).
     197
           Defendants' Reply, Docket Entry No. 37, p. 21.
      9
     1 sid.

     199   Plaintiffs' Opposition, Docket Entry No. 35, p. 30.
                                     105
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at 325, for holding that "'the connection between [d}efendants'

misleading statements and the alleged corrective disclosures

is a highly fact intensive inquiry that need not be reached at' the

pleading stage, " 200 plaintiffs argue that defendants' arguments are

not appropriate at this stage.


                    (1)    Additional Law

     The PSLRA, 15 U.S.C. § 78u-4(b)(4), requires plaintiffs to

bear "the burden of proving that the act or omission of the

defendant alleged to violate this chapter caused the loss for which

the plaintiff seeks to recover damages."          In Dura Pharmaceuticals,

125 S. Ct. at 1631, the Supreme Court held that the PSLRA requires

plaintiffs to plead "loss causation,            i.e.,   a causal connection

between the material misrepresentation and the loss."                 See also

Amgen,   133   s.    Ct.    at   1192,   (confirming    that   loss   causation

continues to be an element of a private securities fraud action

under § l0(b)).       To plead loss causation plaintiffs

     must allege that when the "relevant truth" about the
     fraud began to leak out or otherwise make its way into
     the marketplace, it caused the price of the stock to
     depreciate and,    thereby,  proximately   caused  the
     plaintiff's economic harm.

Amedisys, 769 F.3d at 320 (citing Lormand, 565 F.3d at 255).

     Loss causation in fraud-on-the-market cases can be
     demonstrated circumstantially by "(1) identifying a
     'corrective disclosure' (a release of information that
     reveals to the market the pertiI?-ent truth that was


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        1 .


                                         106
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        previously concealed or obscured by the company's fraud) ;
        (2) showing that the stock price dropped soon after the
        corrective disclosure; and (3) eliminating other possible
        explanations for this price drop, so that the factfinder
        can infer that it is more probable than not that it was
        the corrective disclosure - as opposed to other possible
        depressive factors - that caused at least a 'substantial'
        amount of price drop".

Id. at 320-21 (quoting FindWhat Investor Group v. FindWhat.com, 658

F.3d 1282, 1311-12 (11th Cir. 2011), cert. denied, 133 S. Ct. 109

(2012) (emphasis added)). While the corrective disclosure need not

be     "complete"    and   "need   not    precisely   mirror    [an]   earlier

misrepresentation," the corrective disclosure "must reflect part of

the     'relevant truth'        the truth obscured by the fraudulent

statements."        Alaska Electrical Pension Fund v. Flowserve Corp.,

572 F.3d 221, 230 (5th Cir. 2009) (per curiam). "Plaintiffs are

required to allege the truth that emerged was                'related to' or

'relevant to' the defendants' fraud and earlier misstatements."

Amedisys, 769 F.3d at 321.           "The test for relevant truth simply

means that the truth disclosed must make the existence of the

actionable fraud more probable than it would be without that

alleged fact, taken as true." Id. (citing Lormand, 565 F.3d at 256

n. 20).     See also Spitzberg, 758 F.3d at 688 (confirming that "the

applicable standard in this circuit under Lormand, 565 F.3d at 256

n. 20, is that a corrective disclosure must 'make the existence of
the actionable fraud more probable than it would be without that
alleged fact (taken as true).'").



                                         107
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     A corrective disclosure can come from any source and "can
     be gradually perceived in the marketplace through a
     series of partial disclosures." . . . When a complaint
     alleges a series of partial disclosures, the court may
     analyze each in isolation but should also "consider them
     collectively in determining whether a corrective
     disclosure has occurred."

Schott v. Nobilis Health Corp., 211 F.Supp.3d 936, 950-51 (S.D.

Tex. 2016) (quoting Amedisys, 769 F.3d at 322).           See also Lormand,

565 F.3d at 261 ("[L]oss causation may be pleaded on the theory

that the truth gradually emerged through a series of partial

disclosures and that the entire series of partial disclosures

caused the stock price deflation.").



                     (2)    Analysis

     Plaintiffs allege that the Advisory

     Committee Meeting was the first time [ (i)] that the
     market learned of the full extent of the increase in DKA
     in patients taking sotagliflozin over patients taking
     placebo; (ii) that the FDA had specifically warned
     [ d] efendants that the composite endpoint was not reliable
     and hid the risk of OKA; (iii) that the benefits of
     sotagliflozin were only modest; (iv) that the Time-in­
     Range and Glycemic Variability measures touted by Lexicon
     had not been validated for use in regulatory decision
     making for antidiabetic drugs, and (v) that Lexicon did
     not have a meaningful risk management plan for DKA, which
     was     essential    to   the   successful   approval    of
     sotagliflozin.  201



Plaintiffs allege that on news that the Advisory Committee had
deadlocked      on    the     question    of   whether   "the   benefits     of
sotagliflozin outweighed the risks to support approval," Lexicon's


     201
           FACAC, Docket Entry No. 27, p. 72 <JI 211.
                                         108
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share price fell from $7.70 to $5.96 per share, and that as the

market recognized the extent of defendants' misrepresentations and

omissions the share price fell again "hitting bottom at $4.46 on

January 25, 2019, a decline of over 42% [from] its closing price on

January 16, 2019. 11202           Plaintiffs allege that

      [t]hese declines were attributable to the disclosure of
      the Advisory Committee's decision not to recommend
      sotagliflozin for approval,       which revealed that
      [d]efendants had been making false and misleading
      statements and/or omissions concerning the risk to
      patients of DKA, the drug's effectiveness, the FDA's
      concerns regarding the 'composite endpoint'        . and
       [d]efendants' touting of [] sotagliflozin's performance
      with regards to measures that had not been validated by
      the FDA for use in regulatory decision making. 203

      But missing from the FACAC are allegations that the alleged

misrepresentations caused inflation of the price of Lexicon's

common stock.         Simply alleging that plaintiffs purchased Lexicon's

common stock at inflated prices and that the stock price fell after

negative       news    of   the     company's    operations   came     out   is   not
sufficient to plead loss causation.                  Lormand, 565 F.3d at 256

(citing Dura Pharmaceuticals, 125 S. Ct. at 1633-34).                   Plaintiffs

must also make a plausible showing of loss causation, i.e., that

when "the 'relevant truth' about the fraud began to leak out or
otherwise make its way into the marketplace it caused the price of
the   stock      to    depreciate        and   thereby   proximately    cause     the



      202
            Id. at 72-73    <J[   212.
      203
            rd. at 73 err 213.
                                           109
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plaintiff's economic loss."          Id. at 255.         Plaintiffs must allege

that the stock price declined in response                    to    a    "corrective

disclosure,"       i.e.,     "the   truth     obscured      by    the    fraudulent
statements."       Alaska Electrical Pension Fund, 572 F.3d at 230.
Plaintiffs fail to identify any corrective disclosures made during

the Advisory Committee Meeting.               As discussed in the previous

sections of this Memorandum Opinion and Order, when the Advisory

Committee met on January 17, 2019, the proponents of the NOA had

their views, the           FDA staff had its views, and the Advisory

Committee      voted    eight-to-eight        on   the    question      of   whether

sotagliflozin's benefits outweighed its risks to support                         FDA

approval. Neither the FDA's views, nor the comments or vote of the

Committee Members mean that the information issued publicly over

the course of the phase 3 trials and the almost three and a half

year Class Period was false or misleading, or that the discussions
at     the    Advisory      Committee    Meeting         constitute      corrective

disclosures.       Accordingly, for essentially the same reasons that

the court has already concluded that plaintiffs have failed to

allege facts capable of establishing that any of the alleged

misrepresentations are actionable, or that any of the alleged

misrepresentations were made with scienter, the court concludes
that plaintiffs have also failed to allege facts capable of
establishing loss causation with respect to disclosures made during
the Advisory Committee Meeting. See Markman v. Whole Foods Market,


                                        110
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Inc., No. 1:15-CV-681-LY, 2016 WL 10567194, *12 (W.D. Tex. Aug. 19,

2016) ("[I]n the absence of a false representation, there can be no

revelation of falsity to the market.") (citation omitted).

      Plaintiffs allege that Lexicon's stock price fell again on

March 22, 2019, following disclosure that the FDA had issued a

"Complete Response Letter" stating that the FDA would not approve

sotagliflozin, 204 and again on July 29, 2019, following Sanofi's

announcement that it was terminating the Sanofi Agreement with

Lexicon. 205     Plaintiffs allege that the losses occurring in March

and July 2019 represented

      a materialization of the risk stemming from [d]efendants'
      false and misleading statements and/or omissions
      concerning the risk to patients of DKA, the drug's
      effectiveness,   the   FDA's concerns     regarding   the
      'composite endpoint' in the Phase 3 Trials and
      [d]efendants' touting of [] sotagliflozin's performance
      with regards to measures that had not been validated by
      the FDA for use in regulatory decision making, which had
      already led to the Advisory Committee's deadlocked vote
      at the Committee Meeting and the FDA's decision not to
      approve sotagliflozin as a Tld treatment. 206

Because the FACAC does not allege facts capable of establishing

that the disclosures made in March and July of 2019 corrected any

misrepresentations made earlier, these disclosures do not qualify

as corrective, and plaintiffs has failed to allege loss causation

with respect to them.                 See id.


      204
            Id. at 73   <JI   215.
      205
            Id. at 77   <JI   221.
      206
            Id. at 76-77       <JI   220.

                                                111
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      2.      Claims for Violation of§ 20(a) Control Person Liability

      Plaintiffs allege that the                     Individual    Defendants,   Coats,

Lapuerta, and Ward are liable as "control persons" of Lexicon under

§ 20(a) of the Exchange Act.207                  Section 20(a) imposes joint and

several liability for securities fraud on " [ e] very person who,

directly or indirectly,                 controls any person liable under any

provision of this chapter or of any rule or regulation thereunder."

15 U.S.C. § 78t(a).             "Control person liability is secondary only

and   cannot     exist     in        the   absence     of   a   primary   violation."

Southland, 365 F.3d at 383.                    Defendants argue that the control

person claims asserted in the FACAC are subject to dismissal

because the primary claims under§ l0(b) are subject to dismissal.

Because the court has concluded that the § l0(b) and Rule l0b-5

claims asserted in the FACAC are subject to dismissal for failure

to allege an actionable misrepresentation, failure to plead facts

supporting a strong inference of scienter, and failure to plead

 loss causation, the § 20(b) claim that plaintiffs have asserted

against the Individual Defendants, Coats, Lapuerta, and Ward are

also subject to dismissal.                     Id. at 383-84.        See also Alaska

Electricians Pension Fund,                 915 F.3d at 986 ("Because Plaintiffs

have not established a primary violation,                         their Section 20(a)

claims fail.").




      207
            Id. at 40-42   <_If<_[   134-41.

                                               112
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                     III. Plaintiffs' Request to Amend

      At the end of Plaintiff's Memorandum of Law in Opposition to

Defendants' Motion to Dismiss, plaintiffs assert that "[i]f the

Court grants any portion of the Motion, Plaintiffs respectfully

request 30 days to move to amend pursuant to Fed. R. Civ. Proc.

15 (a) (2)." 208   Federal Rule of Civil Procedure 15 (a) (2) states that

"[t]he court should freely give leave [to amend] when justice so

requires."         "Although Rule 15 [a]     'evinces a bias in favor of

granting leave to         amend,'     it is not automatic."         Matter of

Southmark Corp., 88 F.3d 311, 314 (5th Cir. 1996), cert denied, 117

S. Ct. 686 (1997) (quoting Dussouy v. Gulf Coast Investment Corp.,

660 F.2d 594, 597 (5th Cir. 1981)).           "A decision to grant leave is

within the discretion of the trial court."             Id. (citing State of

Louisiana v. Litton Mortgage Co., 50 F.3d 1298, 1302-1303 (5th Cir.

1995) (per curiam) ).       In exercising its discretion, a court may

consider various criteria including, inter alia, the failure to

cure deficiencies by amendments previously allowed and futility of

the proposed amendment. Id. at 314-15 · (citing Foman v. Davis, 83

S. Ct. 227, 230 (1962)).         Because plaintiffs have already filed an

amended       complaint   that   is    88   pages   long,   and   have   argued

strenuously that the FACAC states claims for which relief may be

granted, and because plaintiffs have failed either to submit a

proposed second amended complaint or described any additional facts



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            Plaintiff' s Opposition, Docket Entry No. 35, p. 31.

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that could be alleged in a second amended complaint that could not

have been alleged in the FACAC,           the court is persuaded that

plaintiffs have pleaded their best case, and that any additional

attempt to amend would be futile. Accordingly, plaintiff's request

for leave to amend will be denied. See Rosenzweig, 332 F.3d at 865

(affirming district court's denial of plaintiff's motion to file a

second amended complaint).



                      IV. Conclusions and Order

     For the reasons stated in § II, above, the court concludes

that plaintiffs have failed to state claims for violations of

§§ 10(b) and 20(a) of the Securities Exchange Act of 1934,                   15

U.S.C. §§ 78j (b), 78t(a) and Rule l0b-5 promulgated thereunder, 17

C.F.R. § 240.l0b-5.      Accordingly, Defendants' Motion to Dismiss

Amended Complaint, Docket Entry No. 33, is GRANTED.

     For the reasons stated in § III, above, the court concludes

that plaintiffs should not be allowed an additional opportunity to

amend. Accordingly, plaintiffs' Request to Amend stated at the end

of Plaintiffs' Opposition to Defendants' Motion to Dismiss, Docket

Entry No. 35, is DENIED.

     SIGNED at Houston, Texas, on this 14th day               gust, 2020.




                                  SENIOR UNITED STATES DISTRICT JUDGE



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